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                                                      EXHIBIT B1


Liquidating
   Trust                                         Claim    Docket
              Respondent                                                                 Status
  Omnibus                                       Number    Number
 Objection
                                                12663               Req. for Hearing (Doc. 10411)
    1         Capmark Finance, Inc.                        10407
                                                14363
                                                12663               Response & Request for Hearing
    1         Capmark Finance, Inc.                        10508
                                                14363
    1         Capmark Finance, Inc.             14363      10497    Response & Request for Hearing
    1         Capmark Finance, Inc.             14589      10499
                                                                    Status hearing on objection adjourned to
                                                                    August 22, 2011 at 2:00 p.m. with
    1         Carolina Pavilion Company         12915
                                                                    opposition due August 15, 2011 by
                                                                    agreement of the parties.
                                                                    Status hearing on objection adjourned to
                                                                    August 22, 2011 at 2:00 p.m. with
    1         Carolina Pavilion Company         14137
                                                                    opposition due August 15, 2011 by
                                                                    agreement of the parties.
                                                                    Status hearing on objection adjourned to
              Centro Properties Group ta                            August 22, 2011 at 2:00 p.m. with
    1                                           12560
              Memphis Commons Memphis, TN                           opposition due August 15, 2011 by
                                                                    agreement of the parties.
                                                                    Status hearing on objection adjourned to
              Centro Properties Group ta                            August 22, 2011 at 2:00 p.m. with
    1                                           12559
              Memphis Commons Memphis TN                            opposition due August 15, 2011 by
                                                                    agreement of the parties.
                                                                    Status hearing on objection adjourned to
              Centro Properties Group ta                            August 22, 2011 at 2:00 p.m. with
    1                                           12633
              Pensacola Square                                      opposition due August 15, 2011 by
                                                                    agreement of the parties.



1
  All matters herein are being adjourned or have been resolved, and the respondent does not need to
appear at the June 9, 2011 hearing.
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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
                                                                      Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                      August 22, 2011 at 2:00 p.m. with
    1         Pensacola Square, Pensacola       12625
                                                                      opposition due August 15, 2011 by
              FL
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                      August 22, 2011 at 2:00 p.m. with
    1         Sharpstown Plaza Houston,          8488
                                                                      opposition due August 15, 2011 by
              TX
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                      August 22, 2011 at 2:00 p.m. with
    1         Sharpstown Plaza Houston,          8491
                                                                      opposition due August 15, 2011 by
              TX
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Circuit Investors #2 Ltd. A                             August 22, 2011 at 2:00 p.m. with
    1                                            9037
              Texas Partnership                                       opposition due August 15, 2011 by
                                                                      agreement of the parties.
              Drexel Delaware Trust c/o                               Response filed 4/5 by CTL Trust
                                                             10295
    1         Midland Loan Services Inc.        12647
                                                             10454
              a Delaware Corporation
              Drexel Delaware Trust c/o                               Response filed 4/5 by CTL Trust
                                                             10295
    1         Midland Loan Services Inc.,       14347
                                                             10454
              a Delaware Corporation
    1         GECMC 2005-C2 Parent, LLC         14418        10326
              GECMC 2005-C2 South
    1         Lindbergh, OLP CCST. Louis,       14420        10328
              LLC
                                                                      After discussions with the Claimant, the
              Jefferson Mall Company II
    1                                           14477                 relief sought in the Objection as it
              LLC
                                                                      relates to this claim shall be sustained.
              KIMCO Realty
                                                11923
    1         KIMCO No. Rivers                               10352
                                                11963
              Valley View SC


                                                         2
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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
              Midland Loan Services Inc.
                                                12647
              (Transferee), LaSalle Bank
    1                                           12258        10295
              National Assoc. (“CTL
                                                14347
              Trust”)
              Midland Loan Services Inc.
                                                12647
              (Transferee), LaSalle Bank
    1                                           12258        10454
              National Assoc. (“CTL
                                                14347
              Trust”)
                                                                      Status hearing on objection adjourned to
                                                                      August 22, 2011 at 2:00 p.m. with
    1         Park National Bank                11749
                                                                      opposition due August 15, 2011 by
                                                                      agreement of the parties.
    1         Parker Central Plaza Ltd.         12761        10822
    1         Parker Central Plaza Ltd.         14389        10822
                                                                      Status hearing on objection adjourned to
              Saul Holdings Limited                                   August 22, 2011 at 2:00 p.m. with
    1                                           13673
              Partnership                                             opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Saul holdings Limited                                   August 22, 2011 at 2:00 p.m. with
    1                                           12223
              Partnership                                             opposition due August 15, 2011 by
                                                                      agreement of the parties.
              THF Chesterfield Two                                    Status hearing on objection adjourned to
              Development LLC, THF                                    August 22, 2011 at 2:00 p.m. with
              Clarksburg Development One                              opposition due August 15, 2011 by
    1                                           12397
              LLC, THF Harrisonburg                                   agreement of the parties.
              Crossing LLC, THF ONC
              Development LLC
              U.S. Bank National                                      Status hearing on objection adjourned to
              Association, as Purchaser                               August 22, 2011 at 2:00 p.m. with
    1                                           14797
              of Assets of Park national                              opposition due August 15, 2011 by
              Bank                                                    agreement of the parties.


                                                         3
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Liquidating
   Trust                                          Claim       Docket
              Respondent                                                                  Status
  Omnibus                                        Number       Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    1         Weingarten Nostat Inc.             12741
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    1         Weingarten Nostat Inc.             13984
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              WRI Camp Creed Marketplace                               August 22, 2011 at 2:00 p.m. with
    1                                            13987
              II LLC                                                   opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              WRI Camp Creek Marketplace                               August 22, 2011 at 2:00 p.m. with
    1                                             9718
              II LLC                                                   opposition due August 15, 2011 by
                                                                       agreement of the parties.

              Basile Limited Liability                                 14134 – Response filed 4/5 by LTL Trust
              Company                                                  12692 – response filed 4/5 by LTL Trust
                                                 12692
    2         Wells Fargo Bank/                               10296
                                                 14134
              NationsLink Funding Corp.
              (“LTL Trust”)
              Basile Limited Liability
              Company
                                                 12692
    2         Wells Fargo Bank/                               10408
                                                 14134
              NationsLink Funding Corp.
              “LTL Trust”
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    2         CC Colonial Trust                   8688
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.



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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
                                                                      Status hearing on objection adjourned to
                                                                      August 22, 2011 at 2:00 p.m. with
    2         CC Colonial Trust                  6909
                                                                      opposition due August 15, 2011 by
                                                                      agreement of the parties.
    2         Central Investments, LLC          12116        10351
                                                                      Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Heritage Square Naperville        12637
                                                                      opposition due August 15, 2011 by
              IL
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Heritage Square Naperville        14565
                                                                      opposition due August 15, 2011 by
              IL
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Heritage Square Naperville        12527
                                                                      opposition due August 15, 2011 by
              IL
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Northridge Plaza Milwaukee        12619
                                                                      opposition due August 15, 2011 by
              IL
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Northridge Plaza Milwaukee        12626
                                                                      opposition due August 15, 2011 by
              WI
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Northridge Plaza Milwaukee         8487
                                                                      opposition due August 15, 2011 by
              IL
                                                                      agreement of the parties.
                                                             10687
    2         Cermak Plaza Associates LLC       12809
                                                             10692



                                                         5
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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
                                                                      Status hearing on objection adjourned to
              Chicago Title Land Trust
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Company, As Trustee Under         12396
                                                                      opposition due August 15, 2011 by
              Trust No. 116762 02
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Chicago Title Land Trust
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Company, as Trustee Under         13895
                                                                      opposition due August 15, 2011 by
              Trust No. 116762 02
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Circsan Limited Partnership        8070
                                                                      opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Circuit Investors No. 3,                                August 22, 2011 at 2:00 p.m. with
    2                                           13618
              Ltd.                                                    opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Circuit Investors Vernon                                August 22, 2011 at 2:00 p.m. with
    2                                            7155
              Hills Limited Partnership                               opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Circuit Investors Yorktown                              August 22, 2011 at 2:00 p.m. with
    2                                           12338
              Limited Partnership                                     opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Colonial Heights Holding,                               August 22, 2011 at 2:00 p.m. with
    2                                           14278
              LLC                                                     opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Colonial Heights Holding,                               August 22, 2011 at 2:00 p.m. with
    2                                            7119
              LLC                                                     opposition due August 15, 2011 by
                                                                      agreement of the parties.


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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
                                                                      Status hearing on objection adjourned to
              Colonial Heights Holding,                               August 22, 2011 at 2:00 p.m. with
    2                                           13092
              LLC                                                     opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Cousins Properties
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Incorporated North Point          14225
                                                                      opposition due August 15, 2011 by
              204404 123
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Cousins Properties
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Incorporates North Point           9525
                                                                      opposition due August 15, 2011 by
              Store No. 3107
                                                                      agreement of the parties.
              KIMCO Realty
    2                                           12102        10352
              GC Acquisition Corp
                                                                      Status hearing on objection adjourned to
              Manufacturers & Traders                                 August 22, 2011 at 2:00 p.m. with
    2                                            8622
              Trust Company, as Trustee                               opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Manufacturers & Traders                                 August 22, 2011 at 2:00 p.m. with
    2                                           12053
              Trust Co., as Trustee                                   opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
                                                                      August 22, 2011 at 2:00 p.m. with
    2         NMC Stratford LLC                  9644
                                                                      opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
              Orland Towne Center LLC by
                                                                      August 22, 2011 at 2:00 p.m. with
    2         their Management Agent CP         12426
                                                                      opposition due August 15, 2011 by
              Management Corp.
                                                                      agreement of the parties.




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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
              Orland Towne Center LLC, an                             Status hearing on objection adjourned to
              Illinois Limited Liability                              August 22, 2011 at 2:00 p.m. with
    2         Company by and through its        12274                 opposition due August 15, 2011 by
              Management Agent CP                                     agreement of the parties.
              Management Corp.
                                                 7999
    2         Pan Am Equities, Inc.
                                                 8794
                                                                      Status hearing on objection adjourned to
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Park National Bank                 8079
                                                                      opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Park National Bank                 8618
                                                                      opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Park National Bank                12615
                                                                      opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Park National Bank                11753
                                                                      opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Ronald Benderson Trust 1995       14920
                                                                      opposition due August 15, 2011 by
                                                                      agreement of the parties.
                                                                      Status hearing on objection adjourned to
                                                                      August 22, 2011 at 2:00 p.m. with
    2         Ronald Benderson Trust 1995       13427
                                                                      opposition due August 15, 2011 by
                                                                      agreement of the parties.



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Liquidating
   Trust                                          Claim       Docket
              Respondent                                                                  Status
  Omnibus                                        Number       Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    2         Ronald Benderson Trust 1995        12469
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Tamarack Village Shopping
    2                                            13208        10808
              Center Limited Partnership
                                                                       Settled pursuant to procedures previously
              Tamarack Village Shopping                                approved by this Court. Accordingly, the
    2                                            13207
              Center Limited Partnership                               matter may be removed from the Court’s
                                                                       docket.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    2         Tanurb Burnsville LP               12656
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    2         Tanurb Burnsville LP               13876
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The West Campus Square                                   August 22, 2011 at 2:00 p.m. with
    2                                             9028
              Company, LLC                                             opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The West Campus Square                                   August 22, 2011 at 2:00 p.m. with
    2                                             7526
              Company, LLC                                             opposition due August 15, 2011 by
                                                                       agreement of the parties.
              U.S. Bank National                                       Status hearing on objection adjourned to
              Association as purchase of                               August 22, 2011 at 2:00 p.m. with
    2                                            14794
              assets of park National                                  opposition due August 15, 2011 by
              Bank                                                     agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    2                                            12405
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                          9
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection

                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    3         4110 Midland LLC                  14287
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    3         4110 Midland LLC                  12708
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    3         4905 Waco LLC                     13902
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    3         4905 Waco LLC                     12710
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    3         Abercorn Common LLP               12682
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    3         Abercorn Common LLP               13695
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.




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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Bank of America N.A., as
              Trustee for Reg. Holders of
              Greenwich Capital
              Commercial Mortgage Funding
                                                  8559
              Corp. Commercial Mortgage
    3                                            12682         10324
              Trust 2007-GG9 Commercial
                                                 13695
              Mortgage Pass-Through
              Certificates, Series 2007-
              GG9, as Collateral Assignee
              of Abercorn Common LLLP
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    3         Basser Kaufman 312 LLC             12507
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    3         Basser Kaufman                     14416
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
    3         Capmark Finance, Inc.               9740         10438    Request for Hearing (Doc. 10439)
    3         Capmark Finance, Inc.               9740         10505    Response & Request for Hearing
              Carousel Center Company,           12294
    3                                                          10290
              L.P.                               12359
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    3         Carrollton Arms LLC                 8567
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Settled pursuant to procedures previously
                                                                        approved by this Court. Accordingly, the
    3         CC-Investors 1996-3                11826
                                                                        matter may be removed from the Court’s
                                                                        docket.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta                                August 22, 2011 at 2:00 p.m. with
    3                                             8104
              Parkway Plaza Vestal NY                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                          11
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta                               August 22, 2011 at 2:00 p.m. with
    3                                            8102
              Parkway Plaza Vestal NY                                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta                               August 22, 2011 at 2:00 p.m. with
    3                                           12580
              Parkway Plaza Vestal NY                                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    3         Circuitville LLC                   7118
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Compton Commercial
                                                                       August 22, 2011 at 2:00 p.m. with
    3         Redevelopment Company Watt        14224
                                                                       opposition due August 15, 2011 by
              20510225
                                                                       agreement of the parties.
                                                 8943
                                                 9725
                                                14080
                                                14955
              Inland Western Avondale
    3                                           14095         10372
              McDowell LLC
                                                14936
                                                13735
                                                14095
                                                14928
                                                 8282
    3         Jubilee-Springdale, LLC                         10418
                                                 9248
              KIMCO Realty
    3                                           11962         10352
              Central Park 1226
    3         Mibarev Development I LLC         13250         10370
    3         Mibarev Development I LLC         13250         10374



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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    3         Regency Centers LP                14381
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    3         Regency Centers LP                14438
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Riverside Towne Center No.                               August 22, 2011 at 2:00 p.m. with
    3                                           14223
              1 Watt 20510227                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Randall Benderson and David                              August 22, 2011 at 2:00 p.m. with
    3                                            9951
              H. Daldauf                                               opposition due August 15, 2011 by
                                                                       agreement of the parties.
    3         Sangertown Square LLC             13702         10290
                                                                       Status hearing on objection adjourned to
              Torrance Towne Center                                    August 22, 2011 at 2:00 p.m. with
    3                                            9646
              Associates LLC                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    3         TSA Stores Inc.                   12561
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Valley Corners Shopping                                  August 22, 2011 at 2:00 p.m. with
    3                                           14360
              Center LLC                                               opposition due August 15, 2011 by
                                                                       agreement of the parties.
              WTM Glimcher LLC, Glimcher
                                                13399
    3         Properties Limited                              10330
                                                14713
              Partnership


                                                         13
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    4         13630 Victory Boulevard LLC        13691
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Abercom Common LP, Bank of
              America N.A., as Trustee
              for Reg. Holders of
              Greenwich Capital
              Commercial Mortgage Funding
    4         Corp. Commercial Mortgage          12682         10324
              Trust 2007-GG9 Commercial
              Mortgage Pass-Through
              Certificates, Series 2007-
              GG9, as Collateral Assignee
              of Abercorn Common LLLP
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    4         Amherst VF LLC                     12697
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Amherst VF LLC Vornado                                    August 22, 2011 at 2:00 p.m. with
    4                                            13910
              Realty Trust                                              opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    4         Basser Kaufman 312 LLC             12507
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
    4         Capmark Finance, Inc.              12152         10443    Request for Hearing (Doc. 10444)
    4         Capmark Finance, Inc.              12152         10506    Response & Request
                                                                        Status hearing on objection adjourned to
              Cardinal Capital Partners
                                                                        August 22, 2011 at 2:00 p.m. with
    4         Inc. & 680 S. Lemon Ave.           12169
                                                                        opposition due August 15, 2011 by
              Co. LLC
                                                                        agreement of the parties.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Cardinal Capital Partners
                                                                       August 22, 2011 at 2:00 p.m. with
    4         Inc. and 680 S. Lemon Ave.        13135
                                                                       opposition due August 15, 2011 by
              Co.
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    4         CC-Hamburg NY Partners LLC        12818
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Settled pursuant to procedures previously
                                                                       approved by this Court. Accordingly, the
    4         CC Investors 1996 6                2366
                                                                       matter may be removed from the Court’s
                                                                       docket.
                                                12712
    4         CC-Investors Trust 1995-1                       10348
                                                13882
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    4         Bakersfield Commons               12555
                                                                       opposition due August 15, 2011 by
              Bakersfield CA
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    4         Esplande Shopping Center          12634
                                                                       opposition due August 15, 2011 by
              Oxnard CA
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group
                                                                       August 22, 2011 at 2:00 p.m. with
    4         Esplande Shopping Center          12639
                                                                       opposition due August 15, 2011 by
              Oxnard, CA
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta                               August 22, 2011 at 2:00 p.m. with
    4                                           12581
              Innes Market Salisbury NC                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta                               August 22, 2011 at 2:00 p.m. with
    4                                           12582
              Innes Market Salisbury NC                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                         15
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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Centro Properties Gru ta
                                                                        August 22, 2011 at 2:00 p.m. with
    4         Montebello Plaza Montebella        12638
                                                                        opposition due August 15, 2011 by
              CA
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                        August 22, 2011 at 2:00 p.m. with
    4         Montebello Plaza                   12754
                                                                        opposition due August 15, 2011 by
              Montebello, CA
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta                                August 22, 2011 at 2:00 p.m. with
    4                                             8089
              Venture Point Duluth GA                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta                                August 22, 2011 at 2:00 p.m. with
    4                                             8490
              Venture Point Duluth, GA                                  opposition due August 15, 2011 by
                                                                        agreement of the parties.
              CMAT 1999-C2 Bustleton
    4                                            12078         10323
              Avenue, LLC
                                                                        Status hearing on objection adjourned to
              Compton Commercial
                                                                        August 22, 2011 at 2:00 p.m. with
    4         Redevelopment Company,             14351
                                                                        opposition due August 15, 2011 by
              Store No. 422
                                                                        agreement of the parties.
              Corre Opportunities Fund,
    4                                            12490         10801
              L.P.
              Corre Opportunities Fund,
    4                                            12487         10801
              L.P.
    4         Giant Eagle, Inc.                  13017         10302
    4         Giant Eagle, Inc.                  14019         10301
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    4         Greece Ridge LLC                   12764
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                 12327                  Corrected Response dated 4/26/11 to (Re:
    4         Iannucci Development Corp.                       10642
                                                 14049                  related document [10486]
                                                          16
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                14936
    4         Inland Entities                                 10380
                                                14955
              KIMCO Realty
    4                                           11951         10352
              KIRS Piers
              Midland Loan Services, Inc.
                                                 8362
    4         - LaSalle Bank National                         10453
              Association (“CLF Trust”)
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    4         PR Christiana LLC                   46
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    4         PR Christiana LLC                 12120
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    4         Pratt Center, LLC                 12524
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    4         Pratt Center, LLC                 14358
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    4         Regency Centers LP                12794
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    4         Regency Centers LP                14791
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    4         Ritz Motel Company                12449
                                                                       Court. Accordingly, the matter may be
                                                                       removed from the Court’s docket.
                                                                       Status hearing on objection adjourned to
              Riverside Towne Center No.                               August 22, 2011 at 2:00 p.m. with
    4                                            9511
              1, Watt Store No. 426                                    opposition due August 15, 2011 by
                                                                       agreement of the parties.
    4         Sangertown Square, L.L.C.         12212         10283
                                                                       Status hearing on objection adjourned to
              THF Harrisonburg Crossing                                August 22, 2011 at 2:00 p.m. with
    4                                           12398
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
    4         Thoroughbred Village              13911         10309
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    4         TSA Stores Inc.                    6586
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    4         TSA Stores Inc.                   13867
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Valley Corners Shopping                                  August 22, 2011 at 2:00 p.m. with
    4                                           12526
              Center LLC                                               opposition due August 15, 2011 by
                                                                       agreement of the parties.
              WEC 99A 2 LLC - LaSalle
    4         Bank National Association         14057         10298
              (“CLF Trust”)
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    4         WRI Overton Plaza LP              13985
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.

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   Trust                                            Claim        Docket
              Respondent                                                                    Status
  Omnibus                                          Number        Number
 Objection
                                                                          Status hearing on objection adjourned to
                                                                          August 22, 2011 at 2:00 p.m. with
    4         WRI Overton Plaza LP                 12737
                                                                          opposition due August 15, 2011 by
                                                                          agreement of the parties.
              WTM Glimcher Properties
              Limited Partnership, as               9902
    4                                                            10331
              managing agent for WTM
              Glimcher, LLC
              WTM Glimcher Properties
              Limited Partnership, as
    4                                               9966         10331
              managing agent for WTM
              Glimcher, LLC

                                                                          Status hearing on objection adjourned to
              Almaden Plaza Shopping                                      August 22, 2011 at 2:00 p.m. with
    5                                              12122
              Center, Inc.                                                opposition due August 15, 2011 by
                                                                          agreement of the parties.
                                                                          Status hearing on objection adjourned to
              Bear    Valley Road Partners                                August 22, 2011 at 2:00 p.m. with
    5                                              12651
              LLC                                                         opposition due August 15, 2011 by
                                                                          agreement of the parties.
                                                                          Status hearing on objection adjourned to
              Bear Valley Road Partners                                   August 22, 2011 at 2:00 p.m. with
    5                                              12653
              LLC                                                         opposition due August 15, 2011 by
                                                                          agreement of the parties.
                                                                          Status hearing on objection adjourned to
              Bear Valley Road Partners                                   August 22, 2011 at 2:00 p.m. with
    5                                              14065
              LLC                                                         opposition due August 15, 2011 by
                                                                          agreement of the parties.
                                                                          Status hearing on objection adjourned to
              Coventry II DDR Buena Park                                  August 22, 2011 at 2:00 p.m. with
    5                                              12446
              Place LP                                                    opposition due August 15, 2011 by
                                                                          agreement of the parties.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Coventry II DDR Buena Park                               August 22, 2011 at 2:00 p.m. with
    5                                           12450
              Place LP – Exhibit C                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Coventry II DDR Buena Park                               August 22, 2011 at 2:00 p.m. with
    5                                           12450
              Place LP – Exhibit D                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Coventry II DDR Buena Vista                              August 22, 2011 at 2:00 p.m. with
    5                                           13562
              Park Place LP                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Coventry II DDR Merriam                                  August 22, 2011 at 2:00 p.m. with
    5                                           13522
              Village LLC                                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR 1st Carolina Crossings                               August 22, 2011 at 2:00 p.m. with
    5                                           13558
              South LLC                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR 1st Carolina Crossings                               August 22, 2011 at 2:00 p.m. with
    5                                           14982
              South LLC                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR 1st Carolina Crossings                               August 22, 2011 at 2:00 p.m. with
    5                                           13540
              South LLC                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDR Arrowhead Crossing LLC        13546
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              DDR Arrowhead Crossing LLC                                August 22, 2011 at 2:00 p.m. with
    5                                            14949
              – Exhibit C                                               opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR Arrowhead Crossing LLC                                August 22, 2011 at 2:00 p.m. with
    5                                            14949
              – Exhibit D                                               opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Arrowhead Crossing LLC         13468
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Crossroads Center LLC          12441
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Highland Grove LLC              9838
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Highland Grove LLC             13455
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Homestead LLC                   9846
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Horseheads LLC                 10009
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDR Horseheads LLC                13525
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDR Horseheads LLC                13458
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDR Horseheads LLC                14976
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDR McFarland Plaza LLC            9836
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR MDT Asheville River                                  August 22, 2011 at 2:00 p.m. with
    5                                            8983
              Hills                                                    opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR MDT Asheville River                                  August 22, 2011 at 2:00 p.m. with
    5                                           12445
              Hills                                                    opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR MDT Asheville River                                  August 22, 2011 at 2:00 p.m. with
    5                                           14943
              Hills                                                    opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR MDT Grandville                                       August 22, 2011 at 2:00 p.m. with
    5                                           12443
              Marketplace LLC                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              DDR MDT Monaca Township                                   August 22, 2011 at 2:00 p.m. with
    5                                            14946
              Marketplace LLC                                           opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR MDT Monaca Township                                   August 22, 2011 at 2:00 p.m. with
    5                                            13564
              Marketplace LLC                                           opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR MDT Woodfield Village                                 August 22, 2011 at 2:00 p.m. with
    5                                            12748
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR MDT Woodfield Village                                 August 22, 2011 at 2:00 p.m. with
    5                                            14981
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR MDT Woodfield Village                                 August 22, 2011 at 2:00 p.m. with
    5                                            12698
              LLD                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Miami Avenue LLC               12838
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR Miami Avenue LLC –                                    August 22, 2011 at 2:00 p.m. with
    5                                            14925
              Exhibit D                                                 opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Miami Avenue LLC               12723
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR MT Monaca                      13589
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR SAU Wendover Phase II                                 August 22, 2011 at 2:00 p.m. with
    5                                            14947
              LLC – Exhibit C                                           opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR SAU Wendover Phase II                                 August 22, 2011 at 2:00 p.m. with
    5                                            14947
              LLC – Exhibit F                                           opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR SAU Wendover Phase II                                 August 22, 2011 at 2:00 p.m. with
    5                                            13460
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Cary LLC             14941
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Cary LLC             12700
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Cary LLC              8701
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Cary LLC             13470
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              DDR Southeast Culver City                                August 22, 2011 at 2:00 p.m. with
    5                                           14952
              DST                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR Southeast Culver City                                August 22, 2011 at 2:00 p.m. with
    5                                           12715
              DST                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR Southeast Culver City                                August 22, 2011 at 2:00 p.m. with
    5                                           13548
              DST                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Dothan LLC          13538
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Dothan LLC          14944
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Dothan LLC          12483
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR Southeast Highlands                                  August 22, 2011 at 2:00 p.m. with
    5                                           14933
              Ranch LLC                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDR Southeast Highlands                                  August 22, 2011 at 2:00 p.m. with
    5                                           13584
              Ranch LLC                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              DDR Southeast Highlands                                   August 22, 2011 at 2:00 p.m. with
    5                                            13556
              Ranch LLC                                                 opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Loisdale LLC         14975
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Loisdale LLC         13469
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Loisdale LLC         13521
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Olympia DST          14977
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Olympia DST          12842
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Olympia DST          12843
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Rome LLC             13544
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Rome LLC             14987
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Rome LLC             13519
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Rome LLC             14987
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR Southeast Snellville                                  August 22, 2011 at 2:00 p.m. with
    5                                            13517
              LIIC                                                      opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Union LLC            14963
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Union LLC            12709
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDR Southeast Union LLC            12711
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR Southeast Vero Beach                                  August 22, 2011 at 2:00 p.m. with
    5                                            14940
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.


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                                                                        Status hearing on objection adjourned to
              DDR Southeast Vero Beach                                  August 22, 2011 at 2:00 p.m. with
    5                                            13539
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR Southeast Vero Beach
                                                                        August 22, 2011 at 2:00 p.m. with
    5         LLC, Ronald Benderson &             9591
                                                                        opposition due August 15, 2011 by
              David H. Baldauf
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDRC Walks at Highwood                                    August 22, 2011 at 2:00 p.m. with
    5                                            13453
              Preserve I LLC                                            opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDRC Walks at Highwoods                                   August 22, 2011 at 2:00 p.m. with
    5                                            14926
              Preserve I LLC – Exhibit C                                opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDRC Walks at Highwoods                                   August 22, 2011 at 2:00 p.m. with
    5                                            14926
              Preserve I LLC – Exhibit D                                opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDRC Walks at Highwoods                                   August 22, 2011 at 2:00 p.m. with
    5                                            12658
              Preserve I LLC                                            opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDRC Walks at Highwoods                                   August 22, 2011 at 2:00 p.m. with
    5                                            13473
              Preserve I LLC                                            opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDRM Hilltop Plaza LP              14942
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDRM Hilltop Plaza LP             13516
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDRM Hilltop Plaza LP             14942
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDRM Hilltop Plaza LP              9917
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDRM Hilltop Plaza LP             13472
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                13586                  August 22, 2011 at 2:00 p.m. with
    5         DDRT CC Plaza LLC
                                                13554                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDRTC CC Plaza LLC –                                     August 22, 2011 at 2:00 p.m. with
    5                                           14980
              Exhibit C                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDRTC CC Plaza LLC –                                     August 22, 2011 at 2:00 p.m. with
    5                                           14980
              Exhibit D                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDRTC Creeks at Virginia                                 August 22, 2011 at 2:00 p.m. with
    5                                           14954
              Center LLC                                               opposition due August 15, 2011 by
                                                                       agreement of the parties.


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                                                                       Status hearing on objection adjourned to
              DDRTC Creeks at Virginia                                 August 22, 2011 at 2:00 p.m. with
    5                                           13583
              Center LLC                                               opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDRTC Creeks at Virginia                                 August 22, 2011 at 2:00 p.m. with
    5                                           12436
              Center LLC                                               opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDRTC McFarland Plaza LLC         13475
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDRTC Newnan Pavilion LLC         13547
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDRTC Newnan Pavilion LLC         14927
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         DDRTC Newnan Pavilion LLC         13464
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDRTC Southlake Pavilion          14924                  August 22, 2011 at 2:00 p.m. with
    5
              LLC – Exhibit C                   13550                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              DDRTC Southlake Pavilion                                 August 22, 2011 at 2:00 p.m. with
    5                                           14924
              LLC – Exhibit D                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.


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                                                                        Status hearing on objection adjourned to
              DDRTC Southlake Pavilion                                  August 22, 2011 at 2:00 p.m. with
    5                                            13588
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDRTC T&C LLC                      14979
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDRTC T&C LLLC                     13555
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         DDRTC T&C LLC                      13585
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Developers Diversified                                    August 22, 2011 at 2:00 p.m. with
    5                                            13459
              Realty Corporation                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Developers Diversified                                    August 22, 2011 at 2:00 p.m. with
    5                                            13456
              Realty Corp.                                              opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Developers Diversified
                                                                        August 22, 2011 at 2:00 p.m. with
    5         Realty Corporation –                9837
                                                                        opposition due August 15, 2011 by
              Exhibit C
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Developers Diversified
                                                                        August 22, 2011 at 2:00 p.m. with
    5         Realty Corporation –                9837
                                                                        opposition due August 15, 2011 by
              Exhibit D
                                                                        agreement of the parties.


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                                                                        Status hearing on objection adjourned to
              Developers Diversified                                    August 22, 2011 at 2:00 p.m. with
    5                                             9839
              Realty Corporation                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Developers Diversified                                    August 22, 2011 at 2:00 p.m. with
    5                                             9840
              Realty Corporation                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Developers Diversified                                    August 22, 2011 at 2:00 p.m. with
    5                                            14962
              Realty Corporation                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Developers Diversified                                    August 22, 2011 at 2:00 p.m. with
    5                                            14442
              Realty Corporation                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              E&A Northeast Limited                                     August 22, 2011 at 2:00 p.m. with
    5                                            12553
              Partnership                                               opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              E&A Northeast Limited                                     August 22, 2011 at 2:00 p.m. with
    5                                            14232
              Partnership                                               opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                  8262
                                                  8278
                                                 12687
    5         Eel McKee LLC                                    10305
                                                 12849
                                                 13719
                                                 13722
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         GMS Golden Valley Ranch LLC        10778
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
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                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         GMS Golden Valley Ranch LLC       10779
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         GMS Golden Valley Ranch LLC       13108
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         GS Erie LLC                       14957
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         GS Erie LLC                       13463
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         GSII Brook Highland LLC           13565
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         GSII Green Ridge LLC              14984
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         GSII Green Ridge LLC               9926
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                 7168
                                                12361
    5         Hayward 880 LLC                   13506         10333
                                                13501
                                                13502

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                                                                       Status hearing on objection adjourned to
              Inland Sau Greenville Point                              August 22, 2011 at 2:00 p.m. with
    5                                           12592
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         Inland Southeast Newnan LLC       10080
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Inland Southeast Vero Beach                              August 22, 2011 at 2:00 p.m. with
    5                                            9937
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Interstate Augusta                                       August 22, 2011 at 2:00 p.m. with
    5                                           12550
              Properties LLC                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Interstate Augusta                                       August 22, 2011 at 2:00 p.m. with
    5                                           14229
              Properties LLC                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         JDN Realty Corp.                  13461
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              JDN Realty Corporation –                                 August 22, 2011 at 2:00 p.m. with
    5                                            9835
              Exhibit C                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              JDN Realty Corporation –                                 August 22, 2011 at 2:00 p.m. with
    5                                            9835
              Exhibit D                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.


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                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         Laguna Gateway Phase 2 LP         12918
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         Laguna Gateway Phase 2 LP         12917
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         Laguna Gateway Phase 2 LP         14066
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Little Britain Holdings,                                 August 22, 2011 at 2:00 p.m. with
    5                                           11799
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         Manteca Stadium Park LP           14069
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         Manteca Stadium Park LP           12659
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         Manteca Stadium Park LP           12662
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         NPP Development LLC               12551
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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    5         NPP Development LLC               14228
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         OTR Claremont Square              12649
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         OTR Claremont Square              12650
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         OTR Claremont Square              14070
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         Ray Muccis, Inc.                  12552
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    5         Ray Muccis, Inc.                  14230
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Riverdale Retail Associates                              August 22, 2011 at 2:00 p.m. with
    5                                           12654
              LC                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Riverdale Retail                                         August 22, 2011 at 2:00 p.m. with
    5                                           14983
              Associates, LC – Exhibit C                               opposition due August 15, 2011 by
                                                                       agreement of the parties.


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              Riverdale Retail                                          August 22, 2011 at 2:00 p.m. with
    5                                            14983
              Associates, LC – Exhibit D                                opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Riverdale Retail Associates                               August 22, 2011 at 2:00 p.m. with
    5                                            10165
              LC                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         Route 146 Millbury LLC             12554
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         Route 146 Millbury LLC             14234
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         SimVest Real Estate II, LLC         5094
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         SimVest Real Estate II, LLC         4334
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         SM Newco Hattiesburg LLC           14937
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    5         SM Newco Hattiesburg LLC           12451
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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                                                                       Status hearing on objection adjourned to
              Sweetwater Associates                                    August 22, 2011 at 2:00 p.m. with
    5                                           12729
              Limited Partnership                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Sweetwater Associates                                    August 22, 2011 at 2:00 p.m. with
    5                                           14074
              Limited Partnership                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Sweetwater Associations                                  August 22, 2011 at 2:00 p.m. with
    5                                           12730
              Limited Partnership                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Stewart Perry Company                                August 22, 2011 at 2:00 p.m. with
    5                                            7731
              Inc.                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.

                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           14126
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           14124
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           14125
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           14127
              Company, et al.                                          opposition due August 15, 2011 by
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                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           14898
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           14899
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           10202
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           10203
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           10204
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           10205
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           10206
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           10207
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           14151
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              American Home Assurance                                  August 22, 2011 at 2:00 p.m. with
    6                                           14152
              Company, et al.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              California Self Insurers                                 August 22, 2011 at 2:00 p.m. with
    6                                           11721
              Security Fund                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              California Self Insurers                                 August 22, 2011 at 2:00 p.m. with
    6                                           11811
              Security Fund                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              California Self Insurers                                 August 22, 2011 at 2:00 p.m. with
    6                                           14971
              Security Fund                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              California Self Insurers                                 August 22, 2011 at 2:00 p.m. with
    6                                           14973
              Security Fund                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              California Self Insurers                                 August 22, 2011 at 2:00 p.m. with
    6                                           15004
              Security Fund                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              California Self Insurers                                 August 22, 2011 at 2:00 p.m. with
    6                                           15031
              Security Fund                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              California Self Insurers                                  August 22, 2011 at 2:00 p.m. with
    6                                            15030
              Security Fund                                             opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Liberty Mutual Fire
                                                                        August 22, 2011 at 2:00 p.m. with
    6         Insurance Company & Liberty        14405
                                                                        opposition due August 15, 2011 by
              Mutual Insurance Company
                                                                        agreement of the parties.
                                                                        Settled subject to documentation.
                                                                        Accordingly, status hearing on objection
    6         NFL Enterprises LLC                 9377                  adjourned to August 22, 2011 at 2:00 p.m.
                                                                        with opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance                                    August 22, 2011 at 2:00 p.m. with
    6                                             7368
              Company                                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance                                    August 22, 2011 at 2:00 p.m. with
    6                                             7369
              Company                                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance                                    August 22, 2011 at 2:00 p.m. with
    6                                             7370
              Company                                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance                                    August 22, 2011 at 2:00 p.m. with
    6                                             7372
              Company                                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7373
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.

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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7374
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7375
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7377
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7378
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7379
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7380
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7381
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7382
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7383
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7384
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                             7385
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            13899
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            13901
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14089
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14090
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14091
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14094
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14144
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14214
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14215
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14350
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14368
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14369
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14370
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14371
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14373
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Old Republic Insurance                                    Status hearing on objection adjourned to
              Company                                                   August 22, 2011 at 2:00 p.m. with
    6                                            14374
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance                                    August 22, 2011 at 2:00 p.m. with
    6                                             7386
              Company of Canada                                         opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance                                    August 22, 2011 at 2:00 p.m. with
    6                                            14367
              Company of Canada                                         opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Safeco Insurance Company of                               August 22, 2011 at 2:00 p.m. with
    6                                             7978
              America                                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Safeco Insurance Company of                               August 22, 2011 at 2:00 p.m. with
    6                                             8106
              America                                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Safeco Insurance Company of                               August 22, 2011 at 2:00 p.m. with
    6                                             8113
              America                                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Safeco Insurance Company of                              August 22, 2011 at 2:00 p.m. with
    6                                            8121
              America                                                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Safeco Insurance Company of                              August 22, 2011 at 2:00 p.m. with
    6                                           14268
              America                                                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Safeco Insurance Company of                              August 22, 2011 at 2:00 p.m. with
    6                                           14972
              America                                                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
    6         SWAIN, Walter                     14487         10482

                                                13926
                                                14910
              AT&T Corp., Bell South
                                                14332
              Telecom. SBC Global Servs.,
    7                                           15184         10414
              Inc. & AT&T Global Servs.,
                                                15190
              Inc.
                                                15191
                                                 9695
                                                                       Status hearing on objection adjourned to
              California Self Insurers                                 August 22, 2011 at 2:00 p.m. with
    7                                           15028
              Security Fund                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              California Self Insurers                                 August 22, 2011 at 2:00 p.m. with
    7                                           15029
              Security Fund                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Columbia Gas of
    7                                           13090         10104
              Massachusetts
    7         Commonwealth Edison Company       14120         10327


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by the
    7         Cyberacoustics LLC                15183
                                                                       Court. The matter may be removed from
                                                                       the Court’s Docket.
                                                                       Order Striking Pleading (Re: related
                                                                       document(s) [10455] Striking Response
              Innovative Marketing                                     filed by Innovative Marketing Solutions
    7                                           13831         10455
              Solutions LLC                                            LLC) (Docket No. 10634). Accordingly,
                                                                       the Trust will be seeking to disallow
                                                                       said claim.
                                                                       Order Striking Pleading (Re: related
                                                                       document(s) 10285 Striking Response filed
              iTouchless Housewares &
    7                                            788          10285    by ITouchless Housewares & Products
              Products, Inc.
                                                                       Inc.). Accordingly, the Trust will be
                                                                       seeking to disallow said claim.
    7         LaCOURSIERE, Brian L.              4756         10210
                                                                       Status hearing on objection adjourned to
              Liberty Mutual Insurance
                                                                       August 22, 2011 at 2:00 p.m. with
    7         Company, Liberty Mutual            9819
                                                                       opposition due August 15, 2011 by
              Fire Insurance Company
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Liberty Mutual Insurance
                                                                       August 22, 2011 at 2:00 p.m. with
    7         Company; Liberty Mutual            9820
                                                                       opposition due August 15, 2011 by
              Fire Insurance Company
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Liberty Mutual Insurance
                                                                       August 22, 2011 at 2:00 p.m. with
    7         Company; Liberty Mutual            9821
                                                                       opposition due August 15, 2011 by
              Fire Ins. Co.
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Liberty Mutual Insurance
                                                                       August 22, 2011 at 2:00 p.m. with
    7         Company; Liberty Mutual            9822
                                                                       opposition due August 15, 2011 by
              Fire Ins. Co.
                                                                       agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Liberty Mutual Insurance
                                                                       August 22, 2011 at 2:00 p.m. with
    7         Company; Liberty Mutual            9823
                                                                       opposition due August 15, 2011 by
              Fire Ins. Co.
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Liberty Mutual Insurance
                                                                       August 22, 2011 at 2:00 p.m. with
    7         Company; Liberty Mutual            9824
                                                                       opposition due August 15, 2011 by
              Fire Ins. Co.
                                                                       agreement of the parties.
                                                                       Addressed pursuant to separate
              Marblegate Asset Management
    7                                           15107                  stipulation. Accordingly, matter may be
              LLC
                                                                       removed from the Court’s docket.
    7         McCabe, Michael                   10546
                                                                       Response deadline was extended to June 2,
                                                                       2011. No response was filed.
    7         Power Sales                        186                   Accordingly, the Trust will request that
                                                                       the Objection be sustained as it relates
                                                                       to this claim.
              PPL Electric Utilities
    7                                           13266         10147
              Corporation
              Public Company Accounting
    7                                           14216         10420
              Oversight Board
    7         SENATOR, Bruce                    13082         10139
                                                                       Status hearing on objection adjourned to
              Sensormatic Electronics                                  August 22, 2011 at 2:00 p.m. with
    7                                            6317
              Corporation                                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
    7         SOLTIS, Audrey                    15047         10457
              TFL Enterprises LLC (Tech
    7                                           13947         10233
              For Less)
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8539
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8540
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8541
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8542
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8543
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8544
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8545
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8546
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8547
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8548
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8549
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8550
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8551
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8552
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8553
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8554
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8555
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              The Travelers Indemnity                                  August 22, 2011 at 2:00 p.m. with
    7                                            8556
              Company & Its Affiliates                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                 1319
              Toshiba America Consumer
    7                                            1331         10395
              Products, L.L.C.
                                                15106

              Alexander H. BOBINSKI, as         12498         10280
    8
              Trustee under Trust No. 001       14248         10281
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         AmCap Northpoint LLC               9373
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         BEV CON I LLC – Exhibit C          8786
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         BEV CON I LLC - Exhibit F          8786
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         BFW Pike Associates LLC           13542
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         BFW Pike Associates LLC           12655
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         BFW Pike Associates LLC           14985
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              CADI Monrovia Marketplace                                Status hearing on objection adjourned to
              LLC Dome Monrovia                                        August 22, 2011 at 2:00 p.m. with
    8         Marketplace LLC &                 12823                  opposition due August 15, 2011 by
              Nationwide Monrovia                                      agreement of the parties.
              Marketplace LLC
              CADI Monrovia Marketplace                                Status hearing on objection adjourned to
              LLC; Dome Monrovia                                       August 22, 2011 at 2:00 p.m. with
    8         Marketplace LLC: and              12996                  opposition due August 15, 2011 by
              Nationwide Monrovia                                      agreement of the parties.
              Marketplace LLC
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         CC La Quinta LLC                  12063
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    8         County Lien Plaza Jackson          8100
                                                                       opposition due August 15, 2011 by
              MS
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Midway market Square               8486
                                                                       opposition due August 15, 2011 by
              Elyria, OH
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Chamberlain Plaza Meriden         12533
                                                                       opposition due August 15, 2011 by
              CT
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Chamberlain Plaza Meriden         12538
                                                                       opposition due August 15, 2011 by
              CT
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Midway Market Square              12531
                                                                       opposition due August 15, 2011 by
              Elyria, OH
                                                                       agreement of the parties.
                                                         52
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                        August 22, 2011 at 2:00 p.m. with
    8         Midway market Square Elyria        12532
                                                                        opposition due August 15, 2011 by
              OH
                                                                        agreement of the parties.
    8         Citrus Park CC LLC                 13355         10750
              CMAT 1999-C2 Lawrence Road,
    8                                            12077         10322
              LLC
              CMAT 1999-C2 Ridgeland
    8                                            11958         10321
              Retails, LLC
              Colorado Structures, Inc.,          7810
    8                                                          10391
              dba CSI Construction Co.           12341
                                                                        This matter has been settled pursuant to
                                                                        procedures previously approved by the
    8         Continental 45 Fund LP              6650
                                                                        Court. The matter may be removed from
                                                                        the Court’s docket.
              CWCapital Asset Management
                                                               10824
    8         LLC, as Special Servicer           12832
                                                               10825
              for Bank of America N.A.
              CWCapital Asset Management
              LLC as Special Servicer of
                                                               10824
    8         Bank of America NA,                13950
                                                               10825
              Successor by Merger to
              LaSalle Bank NA, as Trustee
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         Daniel G. Kamin McAllen LLC        11716
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         DDR MDT Carillon Place LLC         12440
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.



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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         DDR MDT Carillon Place LLC         13552
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         DDR MDT Carillon Place LLC         13557
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR Union Consumer Square                                 August 22, 2011 at 2:00 p.m. with
    8                                            13553
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR Union Consumer Square                                 August 22, 2011 at 2:00 p.m. with
    8                                            13566
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         DDRM Skyview Plaza LLC             13545
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         DDRM Skyview Plaza LLC             13520
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         DDRM Skyview Plaza LLC             13563
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         DDRM Skyview Plaza LLC             14948
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         DDR Southeast Cortez LLC          13518
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         DDR Southeast Cortez LLC          14986
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                13471
              DDRTC Columbiana Station I                               August 22, 2011 at 2:00 p.m. with
    8                                           13457
              LLC                                                      opposition due August 15, 2011 by
                                                14950
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         DDRTC Sycamore Commons LLC        12664
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         DDRTC Sycamore Commons LLC        13587
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         DDRTC Sycamore Commons LLC        14978
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Dentici Family Limited                                   Status hearing on objection adjourned to
              Partnership                                              August 22, 2011 at 2:00 p.m. with
    8                                            7984
              United States Debt Recovery                              opposition due August 15, 2011 by
              V LP                                                     agreement of the parties.
              Dentici Family Limited                                   Status hearing on objection adjourned to
              Partnership                                              August 22, 2011 at 2:00 p.m. with
    8                                           13732
              United States Debt Recovery                              opposition due August 15, 2011 by
              V LP                                                     agreement of the parties.
    8         Donald L. Emerick                 12218         10749
    8         EklecCo NewCo, L.L.C.              4251         10294
                                                         55
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Exeter JV Associates LP           12005
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              First Berkshire Properties                               August 22, 2011 at 2:00 p.m. with
    8                                           14901
              LLC – Exhibit D                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              First Berkshire Properties                               August 22, 2011 at 2:00 p.m. with
    8                                           14901
              LLC – Exhibit C                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              First Berkshire Properties                               August 22, 2011 at 2:00 p.m. with
    8                                           13441
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              First Berkshire Properties                               August 22, 2011 at 2:00 p.m. with
    8                                           13444
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         GSII Green Ridge LLC              13560
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Holiday Union Associates LP       10862
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Inland Sau Greenville                                    August 22, 2011 at 2:00 p.m. with
    8                                           12485
              Point, LLC                                               opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Inland Sau Greenville Point                              August 22, 2011 at 2:00 p.m. with
    8                                           12592
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Inland Sau Greenville Point                              August 22, 2011 at 2:00 p.m. with
    8                                           14938
              LLC – Exhibit D                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Inland Sau Greenville Point                              August 22, 2011 at 2:00 p.m. with
    8                                           14938
              LLC – Exhibit C                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Inland Southeast Colonial                                August 22, 2011 at 2:00 p.m. with
    8                                            9920
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Inland Southeast Colonial                                August 22, 2011 at 2:00 p.m. with
    8                                            9922
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Janaf Shops LLC                   14284
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Janaf Shops LLC                   14511
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              KIMCO Realty
                                                11970
              Chambersburg Crossing
    8                                           11949         10352
              KIR Amarillo LP
                                                11953
              PK Sale


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         La Frontera Village LP              9367
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         La Frontera Village LP             13930
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         Main Street at Exton LP            12421
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         Main Street at Exton LP            12614
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Manufacturers & Traders                                   August 22, 2011 at 2:00 p.m. with
    8                                             8562
              Trust Company as Trustee                                  opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Montgomery Towne Center                                   August 22, 2011 at 2:00 p.m. with
    8                                             7421
              Station Inc.                                              opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Morgan Hill Retail Venture
    8                                            10265         10378
              LP
    8         NAP Northpoint LLC                 12497         10272
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    8         North Plainfield VF LLC             8723
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         North Plainfield VF LLC           13928
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         P A Acadia Pelham Manor LLC        9086
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         P A Acadia Pelham Manor LLC       13777
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Pacific Harbor Equities LLC       12379
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Philips International
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Holding Corp., as Agent for       12670
                                                                       opposition due August 15, 2011 by
              SP Massapequa LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Philips International
                                                                       August 22, 2011 at 2:00 p.m. with
    8         holding Corp., as Agent for       13574
                                                                       opposition due August 15, 2011 by
              SP Massapequa LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Philips International
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Holding Corp., as Agent for       14417
                                                                       opposition due August 15, 2011 by
              SP Massapequa LLC
                                                                       agreement of the parties.
                                                               10361
                                                 8985
    8         Raymond & Main Retail, LLC                       10543
                                                 8988
                                                              Amend.



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Riverdale Retail                                         August 22, 2011 at 2:00 p.m. with
    8                                           13543
              Associates, LC                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Ronus Meyerland Plaza, L.P.       12424         10409
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              San Tan Village Phase 2 LLC                              August 22, 2011 at 2:00 p.m. with
    8                                           13991
              Macerich 203270 1464                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         San Tan Village Phase 2 LLC       13943
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Schiffman Circuit Props –                                August 22, 2011 at 2:00 p.m. with
    8                                            2623
              Exhibit D                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Schiffman Circuit Props –                                August 22, 2011 at 2:00 p.m. with
    8                                            2623
              Exhibit C                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Schottenstein Property
    8                                           13166         10412
              Group, Inc.
              Shoppes at Beavercreek Ltd.
    8                                           12770         10419
              & Jubilee-Springdale, LLC
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         Silverlake CCU Petula LLC         14009
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Southland Center Investors                               August 22, 2011 at 2:00 p.m. with
    8                                           13887
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Southland Center Investors                               August 22, 2011 at 2:00 p.m. with
    8                                           12676
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Spring Hill Development                                  Status hearing on objection adjourned to
              Partners GP Dickson                                      August 22, 2011 at 2:00 p.m. with
    8         Management Associates LLC,        12336                  opposition due August 15, 2011 by
              Gallatin Management                                      agreement of the parties.
              Associates LLC
                                                                       The Trust is withdrawing its Objection to
                                                                       this Claim. After discussions with the
    8         St. Indian Ridge LLC              12790                  Claimant, the relief sought in the
                                                                       Objection as it relates to this claim
                                                                       shall be sustained.
                                                                       Status hearing on objection adjourned to
              T&T Enterprises LP, a
                                                                       August 22, 2011 at 2:00 p.m. with
    8         California Limited                13736
                                                                       opposition due August 15, 2011 by
              Partnership
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    8         T&T Enterprises LP                12872
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Tanglewood Park LLC,                                     Status hearing on objection adjourned to
              Luckoff Land Company LLC,                                August 22, 2011 at 2:00 p.m. with
    8                                           14348
              and Roth Tanglewood LLC as                               opposition due August 15, 2011 by
              Tenants in Common                                        agreement of the parties.
              Tanglewood Park LLC,                                     Status hearing on objection adjourned to
              Luckoff Land Company LLC,                                August 22, 2011 at 2:00 p.m. with
    8                                            5163
              and Roth Tanglewood LLC as                               opposition due August 15, 2011 by
              Tenants in Common                                        agreement of the parties.
                                                         61
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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Terranomics Crossroads                                    August 22, 2011 at 2:00 p.m. with
    8                                            12429
              Associates                                                opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Terranomics Crossroads                                    August 22, 2011 at 2:00 p.m. with
    8                                            14133
              Associates                                                opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        After discussions with the Claimant, the
    8         TIAA CREF                          12254                  relief sought in the Objection as it
                                                                        relates to this claim shall be sustained.
                                                                        Status hearing on objection adjourned to
              Walnut Capital Partners                                   August 22, 2011 at 2:00 p.m. with
    8                                             9785
              Lincoln Place LP                                          opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                 12685
              WEC 99A 1 LLC, LaSalle Bank
                                                 14249
    8         National Association (“CLF                       10299
                                                 12851
              Trust”); WEC 99A 3 LLC
                                                 14135
                                                 12685
              WEC 99A 1 LLC, LaSalle Bank
                                                 14249
    8         National Association (“CLF                       10452
                                                 12851
              Trust”)
                                                 14135


    9         Abilene-Ridgemont, LLC             12241         10293
                                                 14599
                                                                        Status hearing on objection adjourned to
              Altamonte Springs Real                                    August 22, 2011 at 2:00 p.m. with
    9                                             5548
              Estate Associates LLC                                     opposition due August 15, 2011 by
                                                                        agreement of the parties.



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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Altamonte Springs Real                                    August 22, 2011 at 2:00 p.m. with
    9                                            12314
              Estate Associates, LLC                                    opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Altamonte Springs Real                                    August 22, 2011 at 2:00 p.m. with
    9                                            14807
              Estate Associates LLC                                     opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Altamonte Springs Real                                    August 22, 2011 at 2:00 p.m. with
    9                                            13636
              Estate Associates LLC                                     opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Amreit a Texas Real Estate                                August 22, 2011 at 2:00 p.m. with
    9                                            11085
              Investment Trust                                          opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Amreit a Texas Real Estate                                August 22, 2011 at 2:00 p.m. with
    9                                             6073
              Investment Trust                                          opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              AmREIT, a Texas Real Estate                               August 22, 2011 at 2:00 p.m. with
    9                                            12367
              Investment Trust                                          opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Settled pursuant to procedures previously
                                                                        approved by this Court. Accordingly, the
    9         Archon Group LP                    13783
                                                                        matter may be removed from the Court’s
                                                                        docket.
                                                                        Status hearing on objection adjourned to
              Ave Forsyth LLC Cousins                                   August 22, 2011 at 2:00 p.m. with
    9                                            14129
              336932 11                                                 opposition due August 15, 2011 by
                                                                        agreement of the parties.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Ave Forsyth LLC Cousins                                   August 22, 2011 at 2:00 p.m. with
    9                                             9506
              Store No. 4252                                            opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              AVR CPC Associates LLC –                                  August 22, 2011 at 2:00 p.m. with
    9                                            12866
              Exhibit C                                                 opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              AVR CPC Associates LLC –                                  August 22, 2011 at 2:00 p.m. with
    9                                            12866
              Exhibit F                                                 opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    9         AVR CPC Associates LLC             12865
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    9         AVR CPC Associates, LLC            12866
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              BLDG Retail LLC & NetArc                                  August 22, 2011 at 2:00 p.m. with
    9                                            14052
              LLC – Exhibit C                                           opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              BLDG Retail LLC 7 NetArc                                  August 22, 2011 at 2:00 p.m. with
    9                                            14052
              LLC – Exhibit F                                           opposition due August 15, 2011 by
                                                                        agreement of the parties.
              BT Bloomington LLC an                                     Status hearing on objection adjourned to
              Illinois Limited Liability                                August 22, 2011 at 2:00 p.m. with
    9         Company and Successor in           14048                  opposition due August 15, 2011 by
              Interests to Colonial Plaza                               agreement of the parties.
              Associates
    9         Capmark Finance, Inc.               9724         10442
                                                          64
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Carriage Crossing
    9                                           14022         10491
              Marketplace, LLC
                                                                       Status hearing on objection adjourned to
              CBL Terrace Limited                                      August 22, 2011 at 2:00 p.m. with
    9                                           12275
              Partnership                                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                13973
    9         CC Properties LLC                 14001         10355
                                                14002
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta                               August 22, 2011 at 2:00 p.m. with
    9                                           12623
              Sun Plaza, Walton Beach, FL                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta                               August 22, 2011 at 2:00 p.m. with
    9                                           12678
              Sun Plaza Walton Beach, FL                               opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Dickson City Crossing             12528
                                                                       opposition due August 15, 2011 by
              Dickson City, PA
                                                                       agreement of the parties.
              Centro Properties Group ta                               Status hearing on objection adjourned to
              Dickson City Crossing,                                   August 22, 2011 at 2:00 p.m. with
    9                                           12920
              Dickson City, PA – Exhibit                               opposition due August 15, 2011 by
              C                                                        agreement of the parties.
              Centro Properties Group ta                               Status hearing on objection adjourned to
              Dickson City Crossing,                                   August 22, 2011 at 2:00 p.m. with
    9                                           12920
              Dickson City, PA – Exhibit                               opposition due August 15, 2011 by
              D                                                        agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    9         University Commons                12557
                                                                       opposition due August 15, 2011 by
              Greenville, Greenville, NC
                                                                       agreement of the parties.

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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Chandler Gateway Partners                                August 22, 2011 at 2:00 p.m. with
    9                                           13990
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Chandler Gateway Partners                                August 22, 2011 at 2:00 p.m. with
    9                                           13939
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
    9         Chino South Retail PC, LLC         8990         10329
                                                                       Status hearing on objection adjourned to
              Circuit Investors No 2 Ltd                               August 22, 2011 at 2:00 p.m. with
    9                                           12165
              A Texas Partnership                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Cobb Corners II Limited                                  August 22, 2011 at 2:00 p.m. with
    9                                           12114
              Partnership                                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Cobb Corners II Limited                                  August 22, 2011 at 2:00 p.m. with
    9                                           14138
              Partnership                                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Response to (Re: related
                                                                       document(s)[10047] Objection to Claim
              Corre Opportunities Fund,                                filed by Circuit City Stores, Inc.
    9                                            1226         10802
              L.P.                                                     Liquidating Trust) filed by Walter W.
                                                                       Kelley. of Kelley, Lovett & Blakey, P.C.
                                                                       on behalf of Sherwood Properties, LLC.
    9         CP Nord Du Lac JV LLC              9641         10805
                                                                       Settled pursuant to procedures previously
                                                                       approved by this Court. Accordingly, the
    9         Crone & Associates, Inc.           5773
                                                                       matter may be removed from the Court’s
                                                                       docket.
              Crossgates Commons NewCo,         13020
    9                                                         10292
              L.L.C.                            13848
                                                         66
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              CWCapital Asset Management
              LLC, as Special Servicer
    9         for Bank of America as            13978         10826
              Successor by merger to
              LaSalle Bank NA as Trustee
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         De Rito Pavilions 140 LLC          4911
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         De Rito Pavilions 140 LLC          4863
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                 9177
              Diamond Square, LLC;
    9                                           14357         10335
              Builder Square, LLC
                                                12694
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Encinitas PFA LLC                 12648
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Encinitas PFA LLC                 14355
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         FC Woodbridge Crossing LLC        12817
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Federal Realty Investment                                Status hearing on objection adjourned to
              Trust ta Quince Orchard                                  August 22, 2011 at 2:00 p.m. with
    9                                           12545
              Shopping Center,                                         opposition due August 15, 2011 by
              Gaithersburg, MD                                         agreement of the parties.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Federal Realty Investment                                Status hearing on objection adjourned to
              Trust ta Quince Orchard                                  August 22, 2011 at 2:00 p.m. with
    9                                           12546
              Shopping Center,                                         opposition due August 15, 2011 by
              Gaithersburg, MD                                         agreement of the parties.
              GECMC 2005-C2 Ludwig Drive,
    9         LLC, OLP CCFairview               14402         10325
              Heights, LLC
                                                                       Status hearing on objection adjourned to
              Green Tree Mall Associates                               August 22, 2011 at 2:00 p.m. with
    9                                           14111
              Macerich 203270 1462                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Green Tree Mall Associates        13941
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       The Trust is withdrawing its Objection to
    9         Harvest NPE LP – Exhibit C         5656
                                                                       this claim.
                                                                       The Trust is withdrawing its Objection to
    9         Harvest NPE LP – Exhibit F         5656
                                                                       this claim.
    9         Hickory Ridge Pavilion LLC         9247         10417
                                                                       Status hearing on objection adjourned to
              Holyoke Crossing Limited                                 August 22, 2011 at 2:00 p.m. with
    9                                           13109
              Partnership II                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Holyoke Crossing Limited                                 August 22, 2011 at 2:00 p.m. with
    9                                           12620
              Partnership II                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Huntington Mall Company            9433
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Jantzen Dynamic Corporation       13878
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Jantzen Dynamic Corporation       12610
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                12564
    9         Johnson City Crossing, L.P.                     10413
                                                14966
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         KB Columbus I-CC, LLC             12331
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       After discussions with the Claimant, the
    9         KB Columbus I-CC, LLC             13351                  relief sought in the Objection as it
                                                                       relates to this claim shall be sustained.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Kendall 77 Ltd.                   12691
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Kendall 77 Ltd.                    6624
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Kendall 77 Ltd. – Exhibit C       14064
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Kendall 77 Ltd. – Exhibit D       14064
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.

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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Key Bank NA as Master
              Servicer and ORIX Capital
    9                                           12423         10819
              Markets LLC as Special
              Servicer
              KeyBank NA as Master
              Servicer and ORIX Capital
    9         Markets LLC as Special            12399         10821
              Servicer on Behalf of Bank
              of America NA
              KIMCO Realty
    9         CT Retail Properties              11944         10352
              Finance V
                                                12673
    9         Magna Trust Company                             10334
                                                13763
              Mayfair ORCC Business
              Trust; LaSalle Bank
    9                                           14247         10297
              National Association (“CTL
              Trust”)
    9         Novogroder Abilene, LLC           14302         10293
    9         ORIX Capital Marks LLC            12495         10821
    9         ORIX Capital Markets LLC          14244         10821
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Park National Bank                11750
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Park National Bank                11752
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              PREIT Services LLC As Agent
                                                                       August 22, 2011 at 2:00 p.m. with
    9         for PRGL Paxton Limited           14021
                                                                       opposition due August 15, 2011 by
              Partnership
                                                                       agreement of the parties.

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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              PRGL Paxton Limited                                       August 22, 2011 at 2:00 p.m. with
    9                                              45
              Partnership                                               opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Puente Hills Mall LLC;
    9         Glimcher Properties Limited        12477         10332
              Partnership
              Puente Hills Mall LLC;
    9         Glimcher Properties Limited         9965         10332
              Partnership
              Puenta Hills Mall LLC;
    9         Glimcher Properties Limited         1651         10332
              Partnership
              Puente Hills Mall LLC;
    9         Glimcher Properties Limited         9900         10332
              Partnership
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    9         Red Rose Commons LP                11778
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Supplemental Response to (Re: related
                                                                        document(s)[10047] Objection to Claim
                                                                        filed by Circuit City Stores, Inc.
              Retail Property Group, Inc.                               Liquidating Trust) filed by John M. Craig
    9                                            12259         10732
              19th Street Investors, Inc.                               of Law Firm of Russell R. Johnson III,
                                                                        PLC on behalf of Retail Property Group,
                                                                        Inc.. (Attachments: # (1) Exhibit(s)
                                                                        Exhibit A# (2) Exhibit(s) Exhibit B)
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    9         Rockwall Crossings Ltd             13423
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    9         Rockwall Crossings Ltd.            12671
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
    9         Save Mart Supermarkets             13418         10339
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    9         S W Albuquerque LP                 12740
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              SJ Collins Enterprises LLC;                               Status hearing on objection adjourned to
              Goodman Enterprises LLC;                                  August 22, 2011 at 2:00 p.m. with
    9         DeHart Holdings LLC; and            9366                  opposition due August 15, 2011 by
              Weeks Properties GC                                       agreement of the parties.
              Holdings LLC
              SJ Collins Enterprises LLC:                               Status hearing on objection adjourned to
              Goodman Enterprises LLC;                                  August 22, 2011 at 2:00 p.m. with
    9         DeHart Holdings LLC; and           13572                  opposition due August 15, 2011 by
              Weeks Properties GC                                       agreement of the parties.
              Holdings LLC
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    9         SW Albuquerque LP                  13981
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              The Village at Rivergate                                  August 22, 2011 at 2:00 p.m. with
    9                                            14476
              Limited Partnership                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Torrance Town Center                                      August 22, 2011 at 2:00 p.m. with
    9                                            12914
              Associates LLC                                            opposition due August 15, 2011 by
                                                                        agreement of the parties.



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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Torrance Towne Center                                    August 22, 2011 at 2:00 p.m. with
    9                                           12733
              Associates LLC                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         TUP 340 Company LLC                4807
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    9                                           12735
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
              U.S. Bank National                                       Status hearing on objection adjourned to
              Association as purchaser of                              August 22, 2011 at 2:00 p.m. with
    9                                           14802
              assets of Park National                                  opposition due August 15, 2011 by
              Bank                                                     agreement of the parties.
                                                                       Status hearing on objection adjourned to
              US Bank National
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Association as Purchaser of       14796
                                                                       opposition due August 15, 2011 by
              Assets of Park Nation Bank
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Victoria Estates LTD
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Magpond LLC; Magpond A LLC;        9953
                                                                       opposition due August 15, 2011 by
              and Magpond B LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         WEA Gateway LLC                   12162
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         Weingarten Nostat, Inc.           13982
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Westlake Limited
    9                                           15213         10340
              Partnership
                                                         73
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Woodlawn Trustees                                        August 22, 2011 at 2:00 p.m. with
    9                                           12313
              Incorporated                                             opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Woodlawn Trustees                                        August 22, 2011 at 2:00 p.m. with
    9                                            4890
              Incorporated                                             opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Woodlawn Trustees                                        August 22, 2011 at 2:00 p.m. with
    9                                            3971
              Incorporated                                             opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Woodlawn Trustees                                        August 22, 2011 at 2:00 p.m. with
    9                                           13884
              Incorporated                                             opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Woodlawn Trustees                                        August 22, 2011 at 2:00 p.m. with
    9                                           14915
              Incorporated                                             opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         WR I Associates LTD               13451
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         WR I Associates LTD               14903
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    9         WR I Associates LTD               13438
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Settled pursuant to procedures previously
              WXIII/PWM Real Estate                                    approved by this Court. Accordingly, the
    9                                           12919
              Limited Partnership                                      matter may be removed from the Court’s
                                                                       docket.

                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    10        SPARKS, Christina A.              14932
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    10        WILLIAMS, Deborah Angel            7401
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.

    11        ALEXANDER, Michael W.             11075         10291
    11        ALLEN, Keith                       5311         10487
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    11        BEAM, Michael                      6024
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
    11        DUDA, Kenneth                     13402         10141
    11        DUDLEY, Joseph                     2476         10211
    11        ELLIOTT, Willard Mark              5191         10225
    11        FINCH, Roland                      2532         10165
    11        GONZALEZ, Jaime                    3017         10226
    11        JOFFE, Jakob                       5686         10238
    11        JONES, Louis C., III              10648         10459
    11        LOVEALL, Joshua M.                 5592         10385
    11        LYNN, Virgil S.                    4291         10284
    11        ROWBERRY, Brandon                  5693         10456
    11        TOLLIVER, David W.                14159         10488

    12        DUDA, Kenneth                     13339         10141

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   Trust                                            Claim        Docket
              Respondent                                                                    Status
  Omnibus                                          Number        Number
 Objection
     12       ETHERIDGE, Curtis W.                 14621         10397

    13        BESANKO, Bruce H.                    14990         10398
    13        BESANKO, Bruce H.                    14990         10415
    13        BOTELHO, Anthony C., IV               1838         10249
    13        GROSSE, Andrew                        369          10207
                                                                          Status hearing on objection adjourned to
    13        LONGOOD, Patrick S.                  14637
                                                                          August 22, 2011 at 2:00 p.m.

    14        601 Plaza, LLC                       13697         10287
    14        601 Plaza, LLC                       13697         10288
                                                                          Status hearing on objection adjourned to
              ACD2 Prudential Desert                                      August 22, 2011 at 2:00 p.m. with
    14                                             13980
              Crossing 201101 121                                         opposition due August 15, 2011 by
                                                                          agreement of the parties.
                                                                          Status hearing on objection adjourned to
                                                                          August 22, 2011 at 2:00 p.m. with
    14        ACD2                                 12702
                                                                          opposition due August 15, 2011 by
                                                                          agreement of the parties.
                                                                          Status hearing on objection adjourned to
                                                   13875                  August 22, 2011 at 2:00 p.m. with
    14        Ammon Properties LC
                                                   13779                  opposition due August 15, 2011 by
                                                                          agreement of the parties.
                                                                          Status hearing on objection adjourned to
              Atlantic Center Fort Greene                                 August 22, 2011 at 2:00 p.m. with
    14                                             12801
              Associates LP                                               opposition due August 15, 2011 by
                                                                          agreement of the parties.
              Bank of America NA as                                       Status hearing on objection adjourned to
              Trustee for the Registered                                  August 22, 2011 at 2:00 p.m. with
    14        Holders of Banc of America            9127                  opposition due August 15, 2011 by
              Commercial Mortgage Inc                                     agreement of the parties.
              Commercial Mortgage


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Bank of America National                                 Request for Hearing (Doc. 10424)
              Association Successor by
              Merger to LaSalle National                      10423
    14                                           9916
              Banka a Nationally                              10498
              Chartered Bank as Trustee
              for Capmark Finance, Inc.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        BL NTV I LLC                      14024
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        BL NTV I LLC                      12612
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Boulevard North Associates        11904
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Breevast Reno Inc, RREEF                                 August 22, 2011 at 2:00 p.m. with
    14                                          13989
              Firecreek 207459 68                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Breevast Reno Inc.                13961
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              CB Richard Ellis/
    14                                           3490         10308
              Louisville, LLC
              CC Grand Junction Investors       13168
    14                                                        10359
              1998, L.L.C.                      12334
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Coastal Way, Brooksville,         12677
                                                                       opposition due August 15, 2011 by
              FL
                                                                       agreement of the parties.
                                                         77
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Coastal Way, Brooksville,         12630
                                                                       opposition due August 15, 2011 by
              FL
                                                                       agreement of the parties.
                                                                       After discussions with the Claimant, the
                                                                       relief sought in the Objection,
    14        Chapel Hills West LLC              6800
                                                                       specifically Exhibit C Reduce, shall be
                                                                       sustained.
              CMAT 1999-C2 Emporium
    14                                           4991         10314
              Drive, LLC
                                                                       Status hearing on objection adjourned to
              Cottonwood Corners – Phase
                                                                       August 22, 2011 at 2:00 p.m. with
    14        V, LLC; RSF Land & Cattle         12549
                                                                       opposition due August 15, 2011 by
              Company, LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Cottonwood Corners – Phase
                                                                       August 22, 2011 at 2:00 p.m. with
    14        V, LLC; RSF Land & Cattle         13100
                                                                       opposition due August 15, 2011 by
              Company, LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Cottonwood Corners – Phase
                                                                       August 22, 2011 at 2:00 p.m. with
    14        V, LLC; RSF Land & Cattle         13892
                                                                       opposition due August 15, 2011 by
              Company, LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Cottonwood Corners – Phase
                                                                       August 22, 2011 at 2:00 p.m. with
    14        V, LLC; RSF Land & Cattle         13893
                                                                       opposition due August 15, 2011 by
              Company, LLC
                                                                       agreement of the parties.
                                                 155
                                                 184
              Crossways Financial
    14                                           7662         10360
              Associates, LLC
                                                11982
                                                12030



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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Daniel G. Kamin Burlington                                August 22, 2011 at 2:00 p.m. with
    14                                           14576
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Daniel G. Kamin Burlington                                August 22, 2011 at 2:00 p.m. with
    14                                           11766
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Dartmouth Marketplace              12683
    14                                                         10392
              Associates                         14868
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        DDR Miami Avenue LLC               12723
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        DDR Miami Avenue LLC               12838
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              DDR Miami Avenue LLC –                                    August 22, 2011 at 2:00 p.m. with
    14                                           14925
              Exhibit C                                                 opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Eagleridge Associates              12825
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        East Brunswick VF LLC               9307
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              ELPF Slidell LLC – Exhibit                                August 22, 2011 at 2:00 p.m. with
    14                                            8847
              C                                                         opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                          79
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              ELFP Slidell LLC – Exhibit                               August 22, 2011 at 2:00 p.m. with
    14                                           8847
              D                                                        opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        ELPF Slidell LLC                   9052
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        ELPF Slidell LLC                  11555
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Estate of Juda Nadler,                                   Status hearing on objection adjourned to
              Regina Nadler ,Jacob                                     August 22, 2011 at 2:00 p.m. with
    14                                          12719
              Kasirer, Rose Kasirer,                                   opposition due August 15, 2011 by
              Michael Peters                                           agreement of the parties.
              Estate of Judith Nadler,                                 Status hearing on objection adjourned to
              Regina Nadler, Jacob                                     August 22, 2011 at 2:00 p.m. with
    14        Kasirer, Rose Kasirer,            14352                  opposition due August 15, 2011 by
              Michael Peters, Pasadena                                 agreement of the parties.
              340991 1
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Gateway Woodside Inc.              6115
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              G.B Evansville Developers,         8276
    14                                                        10480
              LLC                               12371
              G.B. Evansville Developers,
    14                                          14082         10481
              LLC
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        GSII Green Ridge LLC               9926
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        GSII Green Ridge LLC              12668
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Howland Commons Partnership        9426
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Howland Commons Partnership       12264
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Howland Commons Partnership       13181
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                14939
              Inland Continental Property                              August 22, 2011 at 2:00 p.m. with
    14                                          14081
              Management Corp                                          opposition due August 15, 2011 by
                                                12079
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Inland Pacific Property           13734                  August 22, 2011 at 2:00 p.m. with
    14
              Services LLC                      14974                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Inland Western Temecula                                  August 22, 2011 at 2:00 p.m. with
    14                                          12803
              Commons LLC                                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Jaren Associates No. 4
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Macerich Scottsdale Store         13927
                                                                       opposition due August 15, 2011 by
              No. 3341
                                                                       agreement of the parties.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Jaren Associates No. 4
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Scottsdale Macerich 203270         13992
                                                                        opposition due August 15, 2011 by
              1466
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Jordan Landing LLC                                        August 22, 2011 at 2:00 p.m. with
    14                                           14110
              Foursquare 340784 1                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
              KIMCO Realty
    14                                           11948         10352
              KIMCO Arbor Lakes SC
              KRG Market Street Village,
    14                                           12707         10345
              LP
              KRG Market Street Village,
    14                                           14143         10344
              LP
                                                                        Status hearing on objection adjourned to
              Lakewood Mall Shopping                                    August 22, 2011 at 2:00 p.m. with
    14                                           14309
              Center Company                                            opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Lakewood Mall Shopping                                    August 22, 2011 at 2:00 p.m. with
    14                                           14913
              Center Company                                            opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Lakewood Mall Shopping                                    August 22, 2011 at 2:00 p.m. with
    14                                           13940
              Center Company – Exhibit C                                opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Lakewood Mall Shopping                                    August 22, 2011 at 2:00 p.m. with
    14                                           13940
              Center Company – Exhibit F                                opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Loop West LLC                      14310
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Loop West LLC                      12885
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Macerich Store No. 6286             9517
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Macerich Vintage Faire                                    August 22, 2011 at 2:00 p.m. with
    14                                           14130
              Limited Partnership                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Macerich Vintage Faire                                    August 22, 2011 at 2:00 p.m. with
    14                                           14914
              Limited Partnership                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Macerich Vintage Faire                                    August 22, 2011 at 2:00 p.m. with
    14                                           12693
              Limited Partnership                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Macerich Vintage Faire             14102
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Manufacturers & Traders                                   August 22, 2011 at 2:00 p.m. with
    14                                            8610
              Trust Company, as Trustee                                 opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        MEMORIAL SQUARE 1031 LLC           10020
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        MK Kona Commons LLC                 8041
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Monte Vista Crossings LLC           4050
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Montevideo Investments LLC                                August 22, 2011 at 2:00 p.m. with
    14                                           13929
              Macerich Store No 6286                                    opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Montevideo Investments LLC
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Village Square 1 Macerich          13993
                                                                        opposition due August 15, 2011 by
              203270 1468
                                                                        agreement of the parties.
                                                  156
              Newport News Shopping
    14                                            7663         10363
              Center, LLC
                                                 12057
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        North Plainfield VF LLC            13928
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Norwalk Plaza Partners             13979
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Norwalk Plaza Partners             12750
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.



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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Norwalk Plaza Partners             14105                  opposition due August 15, 2011 by
                                                                        agreement of the parties.

    14        OATES, Marvin L., Trust             7024         10624
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    14        Park National Bank                 12727
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Pembrooke Crossing LTD                                    August 22, 2011 at 2:00 p.m. with
    14                                           13998
              Prudential 204404 122                                     opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Pembrooke Crossing LTD                                    August 22, 2011 at 2:00 p.m. with
    14                                           12704
              Prudential 204404 122                                     opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Plaza at Jordan Landing
                                                                        August 22, 2011 at 2:00 p.m. with
    14        LLC; Macerich Store No.            14103
                                                                        opposition due August 15, 2011 by
              3353 – Exhibit C
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Plaza at Jordan Landing
                                                                        August 22, 2011 at 2:00 p.m. with
    14        LLC; Macerich Store No.            14103
                                                                        opposition due August 15, 2011 by
              3353 – Exhibit F
                                                                        agreement of the parties.
                                                                        Settled pursuant to procedures previously
                                                                        approved by this Court. Accordingly, the
    14        Polaris Circuit City LLC           12240
                                                                        matter may be removed from the Court’s
                                                                        docket.
                                                                        Settled pursuant to procedures previously
                                                                        approved by this Court. Accordingly, the
    14        Polaris Circuit City LLC           12304
                                                                        matter may be removed from the Court’s
                                                                        docket.
                                                          85
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Portland Investment Company                              August 22, 2011 at 2:00 p.m. with
    14                                          13996
              of America; Sawmill Plaza                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Portland Investment Company                              August 22, 2011 at 2:00 p.m. with
    14                                          14912
              of America; Sawmill Plaza                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        RJ Ventures LLC                   11899
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Ronald D. Rossitter &                                    August 22, 2011 at 2:00 p.m. with
    14                                          13323
              Barbara M. Rossiter                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              RREEF America REIT II Corp.                              August 22, 2011 at 2:00 p.m. with
    14                                          14104
              Crossroads                                               opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              RREEF America REIT II Corp                               August 22, 2011 at 2:00 p.m. with
    14                                          13997
              MM Crossroads                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              RREEF America REIT II Corp                               August 22, 2011 at 2:00 p.m. with
    14                                          14911
              MM Crossroads                                            opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Sawmill Plaza Place                                      August 22, 2011 at 2:00 p.m. with
    14                                          12751
              Associates                                               opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                13163
                                                13188
    14        Site A LLC                        14686         10364
                                                14770
                                                 212
                                                                       Status hearing on objection adjourned to
              Somerville Saginaw Limited                               August 22, 2011 at 2:00 p.m. with
    14                                          11776
              Partnership                                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       This matter has been settled pursuant to
    14        Southland Acquisitions LLC        14018                  procedures previously approved by this
                                                                       Court
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        The Marvin L. Oates Trust          7024
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Shoppes at Schererville                              August 22, 2011 at 2:00 p.m. with
    14                                          12562
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Shoppes at Schererville                              August 22, 2011 at 2:00 p.m. with
    14                                          13478
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              THF Clarksburg Development
                                                                       August 22, 2011 at 2:00 p.m. with
    14        One Limited Liability             12453
                                                                       opposition due August 15, 2011 by
              Company
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Towson VF LLC                     12699
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Towson VF LLC                     14169
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Trumbull Shopping Center                                 August 22, 2011 at 2:00 p.m. with
    14                                          12159
              No. 2 LLC                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              UBS Realty Investors LLC,
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Agent for Happy Valley Town        8107
                                                                       opposition due August 15, 2011 by
              Center, Phoenix, AZ
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    14                                          12136
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    14                                          12811
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Uniwest Management Services                              Status hearing on objection adjourned to
              Inc., Owner or Agent for                                 August 22, 2011 at 2:00 p.m. with
    14        Battlefield FE Limited            12548                  opposition due August 15, 2011 by
              partner ta Fort Evans Plaza                              agreement of the parties.
              II Leesburg, VA
                                                                       Status hearing on objection adjourned to
              Walton Hanover Investors V                               August 22, 2011 at 2:00 p.m. with
    14                                          14401
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Walton Hanover Investors V                               August 22, 2011 at 2:00 p.m. with
    14                                          12665
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                13836
    14        WCC Properties                                  10492
                                                13480
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Weingarten Realty Investors       12738
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Weingarten Realty Investors       13964
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    14        Weingarten Realty Investors       14443
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.

                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    15        44 North Properties LLC            8777
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Acadia Realty Limited
                                                                       August 22, 2011 at 2:00 p.m. with
    15        Partnership fka Mark              13802
                                                                       opposition due August 15, 2011 by
              Centers Limited Partnership
                                                                       agreement of the parties.
                                                                       Settled pursuant to procedures previously
              ADD Holdings LP a Texas                                  approved by this Court. Accordingly, the
    15                                           7559
              Limited Partnership                                      matter may be removed from the Court’s
                                                                       docket.
                                                                       Status hearing on objection adjourned to
              Amargosa Palmdale                                        August 22, 2011 at 2:00 p.m. with
    15                                          13962
              Investments LLC                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.



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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Bank of America, N.A. as
              trustee for registered
    15                                           9721         10431
              holders of GMAC Commercial
              Mortgage Securities, Inc.
              Bank of America NA as
              successor by merger to
              LaSalle Bank National
    15                                           9488         10431
              Association as Trustee for
              the Registered Holders of
              GMAC
              Bank of America NA as
              successor by merger to
              LaSalle Bank National
              Association as Trustee for
    15                                           9899         10436
              the Registered Holders of
              the Morgan Stanley Capital
              Inc. Commercial Mortgage
              pass Through Certificates
              Bank of America National
              Association Successor by
              Merger to LaSalle Bank
    15                                          10030         10436
              National Association fka
              LaSalle National Bank as
              Trustee
              Bank of America National
              Association Successor by
    15        merger to LaSalle Bank             9050         10436
              National Association fka
              LaSalle National Bank
              Bank of America National
              Association Successor by
    15        Merger to LaSalle Bank             9704         10431
              National Association fka
              LaSalle National Bank
                                                         90
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Bank of America National
              Association Successor by
    15        Merger to LaSalle Bank             9734         10436
              National Association fka
              LaSalle National Bank
              Bank of America National
              Association Successor by
    15        merger to LaSalle Bank             9707         10436
              National Association fka
              LaSalle National Bank
              Bank of America, N.A. as
              successor by merger to
              LaSalle Bank National
    15        Association as Trustee for         9449         10436
              the Reg. Holders of GMAC
              Commercial Mortgage
              Securities, Inc.
              Barnes and Power North, LLC
    15                                          11773         10140
              – Exhibits C & D
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    15        Bella Terra Associates LLC        13955
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Bond Circuit I Delaware                                  August 22, 2011 at 2:00 p.m. with
    15                                          13448
              Business Trust                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    15        Bond Circuit I Delaware           14935
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.




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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Bond Circuit IV Delaware                                  August 22, 2011 at 2:00 p.m. with
    15                                            8796
              Business Trust                                            opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                  9477
    15        Brighton Commercial, L.L.C.        12493         10399
                                                 14345
                                                  9704
    15        Capmark Finance, Inc.               9721         10502
                                                  9488
                                                  9449
                                                 10030
                                                  9899
    15        Capmark Finance, Inc.               9050         10507         Response & Request for Hearing
                                                  9734
                                                  9707
                                                 14363
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    15        CC Investors 1996 17                7162
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
    15        CC Properties LLC                  14005         10356
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    15        Cedar Development Ltd.             14140
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group a                                 August 22, 2011 at 2:00 p.m. with
    15                                            8102
              Parkway Plaza Vestal NY                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group a                                 August 22, 2011 at 2:00 p.m. with
    15                                            8104
              Parkway Plaza Vestal NY                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                          92
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta                               August 22, 2011 at 2:00 p.m. with
    15                                           1604
              Valley Crossing Hickory NC                               opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Circuit Investors Fairfield                              August 22, 2011 at 2:00 p.m. with
    15                                          14548
              Limited Partnership                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    15        Circuit IL Corp                    5027
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              CMAT 1999 C-1 Kelly Road,
    15                                           5005         10317
              LLC
              CMAT 1999-C2 Moller Road,
    15                                           4994         10315
              LLC
                                                                       Status hearing on objection adjourned to
              Cottonwood Corners – Phase                               August 22, 2011 at 2:00 p.m. with
    15                                          14916
              V LLC – Exhibit E                                        opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Cottonwood Corners – Phase                               August 22, 2011 at 2:00 p.m. with
    15                                          14917
              V LLC                                                    opposition due August 15, 2011 by
                                                                       agreement of the parties.
              CW Capital Asset Management                              Status hearing on objection adjourned to
              LLC as Special Servicer on                               August 22, 2011 at 2:00 p.m. with
    15                                           7233
              Behalf of Wells Fargo Bank                               opposition due August 15, 2011 by
              NA                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    15        Daniel G. Kamin Flint, LLC        11573
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Dollinger Lost Hills                                      August 22, 2011 at 2:00 p.m. with
    15                                            8145
              Associates                                                opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    15        Dowel Conshohocken LLC             12354
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
    15        Fingerlakes Crossing, LLC          12067         10313
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    15        FW CA Brea Marketplace LLC         13446
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                 12796                  August 22, 2011 at 2:00 p.m. with
    15        FW CA Brea Marketplace LLC
                                                 14382                  opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        This matter has been settled pursuant to
    15        Goldsmith, Barbara L.               9728                  procedures previously approved by this
                                                                        Court.
                                                                        This matter has been settled pursuant to
    15        Goldsmith, Barbara L.              14867                  procedures previously approved by this
                                                                        Court.
                                                  8943
              Inland Western Avondale             9725
    15                                                         10386
              McDowell, LLC                      14928
                                                 14936
                                                                        Settled pursuant to procedures previously
                                                                        approved by this Court. Accordingly, the
    15        Jurupa Bolingbrook LLC             14537
                                                                        matter may be removed from the Court’s
                                                                        docket.



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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              KIMCO Realty
                                                  904
              KIR Arboretum Crossing
    15                                            903          10352
              PK Sale LLC
                                                  9061
              Shops at Kildeer
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    15        Liquidity Solutions, Inc.           8935
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    15        Liquidity Solutions, Inc.          12791
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Manufacturers & Traders                                   August 22, 2011 at 2:00 p.m. with
    15                                            8620
              Trust Company as Trustee                                  opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Manufacturers & Traders                                   August 22, 2011 at 2:00 p.m. with
    15                                            8561
              Trust Company as Trustee                                  opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Manufacturers & Traders                                   August 22, 2011 at 2:00 p.m. with
    15                                            8611
              Trust Company, as Trustee                                 opposition due August 15, 2011 by
                                                                        agreement of the parties.
              MRV Wanamaker, LC
    15                                            9282         10343
              Wanamaker 21 Partners L.C.
              Northbrook Sub LLC                                        Status hearing on objection adjourned to
              Northbook PLIC LLC and                                    August 22, 2011 at 2:00 p.m. with
    15                                           12247
              Northbrook VNBP LLC as                                    opposition due August 15, 2011 by
              Tenants in Common                                         agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Northbrook Sub LLC
                                                                        August 22, 2011 at 2:00 p.m. with
    15        Northbrook PLIC LLC and             7979
                                                                        opposition due August 15, 2011 by
              Northbrook VNBP LLC
                                                                        agreement of the parties.
                                                          95
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              OLP CCFurguson LLC
    15                                          14418         10326
              GECMC 2005-C2 Parent, LLC
              ORIX Capital Markets LLC –
    15                                          14245         10818
              Exhibit E
              Park National Bank as                                    Status hearing on objection adjourned to
              Assignee of Rents Under the                              August 22, 2011 at 2:00 p.m. with
    15        Columbus Georgia Lease with        8947                  opposition due August 15, 2011 by
              Circuit Investors No. 2                                  agreement of the parties.
              Ltd.
                                                                       Status hearing on objection adjourned to
              Parkdale Mall Associates,                                August 22, 2011 at 2:00 p.m. with
    15                                          14965
              LP - Exhibit E                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Parkdale Mall Associates,                                August 22, 2011 at 2:00 p.m. with
    15                                          14965
              LP – Exhibit F                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Point West Plaza II                                      August 22, 2011 at 2:00 p.m. with
    15                                           6266
              Investors                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Point West Plaza II                                      August 22, 2011 at 2:00 p.m. with
    15                                           6588
              Investors                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                12792                  August 22, 2011 at 2:00 p.m. with
    15        RC CA Santa Barbara LLC
                                                12797                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Remount Road Associates                                  August 22, 2011 at 2:00 p.m. with
    15                                           8597
              Limited Partnership                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.

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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    15        Remount Road Associates           12488
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    15        Schiffman Circuit Props            9178
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Silverstein Trustee,                                     August 22, 2011 at 2:00 p.m. with
    15                                           6645
              Raymond                                                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Settled pursuant to procedures previously
                                                                       approved by this Court. Accordingly, the
    15        Sir Barton Place LLC              11894
                                                                       matter may be removed from the Court’s
                                                                       docket.
                                                                       Status hearing on objection adjourned to
              Smith Gambrell & Russell                                 August 22, 2011 at 2:00 p.m. with
    15                                           6554
              LLP                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
              The Hutensky Group LLC,                                  Status hearing on objection adjourned to
              agent for HRI Lutherville                                August 22, 2011 at 2:00 p.m. with
    15                                           1897
              Station LLC ta Lutherville                               opposition due August 15, 2011 by
              Station, Lutherville, MD                                 agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Marketplace of
                                                                       August 22, 2011 at 2:00 p.m. with
    15        Rochester Hills Parcel B           6805
                                                                       opposition due August 15, 2011 by
              LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    15        The Woodmont Company              14440
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Settled pursuant to procedures previously
                                                                       approved by this Court. Accordingly, the
    15        Toys R. Us Delaware Inc.           6118
                                                                       matter may be removed from the Court’s
                                                                       docket.
    15        Trader Joe’s East, Inc.            4983         10489
              U.S. Bank National                                       Status hearing on objection adjourned to
              Association as purchaser of                              August 22, 2011 at 2:00 p.m. with
    15                                          14793
              assets of Park National                                  opposition due August 15, 2011 by
              Bank                                                     agreement of the parties.
              UBS Realty Investors LLC                                 Status hearing on objection adjourned to
              agent for Wayside Commons                                August 22, 2011 at 2:00 p.m. with
    15                                           1898
              Investors LLC ta Wayside                                 opposition due August 15, 2011 by
              Commons Burlington, MA                                   agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    15        Uncommon Ltd                      14141
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    15                                           6025
              III LP                                                   opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    15                                           7735
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    15                                          14519
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    15        Vestar OCM LLC                     8227
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.

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   Trust                                            Claim        Docket
              Respondent                                                                    Status
  Omnibus                                          Number        Number
 Objection
              WEC 96D Niles Investment
    15                                              9647         10353
              Trust
              Wells Fargo Bank NA
              successor by merger to
    15        Wells Fargo Bank Minnesota            9441         10501
              NA fka Norwest Bank
              Minnesota NA
              Wells Fargo Bank NA
              successor by merger to
    15        Wells Fargo Bank Minnesota            9741         10501
              NA fka Norwest Bank
              Minnesota NA as Trustee
              Wells Fargo Bank NA
              successor by merger to
    15        Wells Fargo Bank Minnesota            9450         10501
              NA fka Norwest Bank
              Minnesota NA as Trustee
                                                                          Status hearing on objection adjourned to
                                                                          August 22, 2011 at 2:00 p.m. with
    15        Woodmont Sherman LP                  11526
                                                                          opposition due August 15, 2011 by
                                                                          agreement of the parties.
                                                                          Status hearing on objection adjourned to
                                                                          August 22, 2011 at 2:00 p.m. with
    15        Woodmont Sherman LP                  13421
                                                                          opposition due August 15, 2011 by
                                                                          agreement of the parties.

    16        NONE

                                                                          Status hearing on objection adjourned to
              507 Northgate LLC – Exhibit                                 August 22, 2011 at 2:00 p.m. with
    17                                              9181
              C                                                           opposition due August 15, 2011 by
                                                                          agreement of the parties.


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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              507 Northgate LLC – Exhibit                               August 22, 2011 at 2:00 p.m. with
    17                                            9181
              F                                                         opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Acadia Realty Limited
                                                                        August 22, 2011 at 2:00 p.m. with
    17        Partnership fka Mark               12789
                                                                        opposition due August 15, 2011 by
              Centers Limited Partnership
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              ALMADEN PLAZA SHOPPING CTR                                August 22, 2011 at 2:00 p.m. with
    17                                           12122
              INC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Amargosa Palmdale                                         August 22, 2011 at 2:00 p.m. with
    17                                           12997
              Investments LLC                                           opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Bank of America National
              Association Successor by
    17        Merger to LaSalle Bank             12663         10509
              National Association
              (Capmark Finance, Inc.)
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        Bella Terra Associates             12999
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              BFLO Waterford Associates,                                August 22, 2011 at 2:00 p.m. with
    17                                            9952
              LLC – Exhibit C                                           opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              BFLO Waterford Associates,                                August 22, 2011 at 2:00 p.m. with
    17                                            9952
              LLC – Exhibit F                                           opposition due August 15, 2011 by
                                                                        agreement of the parties.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Bond Circuit I Delaware                                  August 22, 2011 at 2:00 p.m. with
    17                                          13440
              Business Trust                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Bond Circuit IV Delaware                                 August 22, 2011 at 2:00 p.m. with
    17                                          12765
              Business Trust                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Bond Circuit VI Delaware                                 August 22, 2011 at 2:00 p.m. with
    17                                          13426
              Business Trust                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Bond Circuit VI Delaware                                 August 22, 2011 at 2:00 p.m. with
    17                                          13439
              Business Trust                                           opposition due August 15, 2011 by
                                                                       agreement of the parties.
    17        C1 West Mason Street LLC           5060         10318
    17        Cameron Bayonne, L.L.C.            5814         10320
              Catellus Operating Limited
    17                                          12328         10264
              Partnership
                                                              10265
              Catellus Operating Limited
    17                                          13708         10266
              Partnership
                                                              10267




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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                 12718
                                                 12721
                                                 12722
                                                 12725
                                                 13716
                                                 14053
                                                 14270
    17        CC Acquisitions, L.C.              14288         10404
                                                 14290
                                                 14518
                                                 14521
                                                 14522
                                                 14523
                                                 14574
                                                 14577
                                                                        Order Striking Pleading (Re: related
              CC Brandywine Investors                                   document(s) [10393] Striking Response
    17                                           11591         10393
              1998                                                      filed by CC Brandywine Investors 1998
                                                                        LLC) (Docket No. 10636)
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        CC Investors 1997 11                9955
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              CCMS 2005 CD1 Lycoming Mall
    17                                            7165         10319
              Circle Limited Partnership
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        Cedar Development Ltd.             12787
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        Cedar Development Ltd.             14811                  opposition due August 15, 2011 by
                                                                        agreement of the parties.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
              Centro Properties Group a
    17                                           12584                  opposition due August 15, 2011 by
              Parkway Plaza Vestal NY
                                                                        agreement of the parties.

                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta                                August 22, 2011 at 2:00 p.m. with
    17        Freshwater Stateline Plaza         12628                  opposition due August 15, 2011 by
              Enfield CT                                                agreement of the parties.

                                                                        Status hearing on objection adjourned to
              Circuit Investors No 4
                                                                        August 22, 2011 at 2:00 p.m. with
    17        Thousand Oaks Limited               8163
                                                                        opposition due August 15, 2011 by
              Partnership
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        Circuit Realty NJ LLC              11761                  opposition due August 15, 2011 by
                                                                        agreement of the parties.

              CMAT-1999-C1 Grand River
    17                                            5002         10316
              Ave, LLC
    17        Crown CCI, LLC                     13467         10338
                                                                        Settled pursuant to procedures previously
              Daniel G. Kamin Elmwood                                   approved by this Court. Accordingly, the
    17                                            2418
              Park LLC                                                  matter may be removed from the Court’s
                                                                        docket.
                                                                        Settled pursuant to procedures previously
              Daniel G. Kamin Elmwood                                   approved by this Court. Accordingly, the
    17                                           14575
              Park LLC                                                  matter may be removed from the Court’s
                                                                        docket.




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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        DeMatteo Management Inc.          15049                  opposition due August 15, 2011 by
                                                                       agreement of the parties.

                                                                       Settled pursuant to procedures previously
              Desert Home Communities of                               approved by this Court. Accordingly, the
    17                                          11685
              Oklahoma, LLC                                            matter may be removed from the Court’s
                                                                       docket.
                                                                       Settled pursuant to procedures previously
                                                                       approved by this Court. Accordingly, the
              Desert Home Communities of
    17                                          11696                  matter may be removed from the Court’s
              Oklahoma LLC
                                                                       docket.

                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
              Evergreen McDowell & Pebble
    17                                          11269                  opposition due August 15, 2011 by
              Creek LLC – Exhibit C
                                                                       agreement of the parties.

                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
              Evergreen McDowell & Pebble
    17                                          11269                  opposition due August 15, 2011 by
              Creek LLC – Exhibit F
                                                                       agreement of the parties.

                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
              General Growth Management
    17                                          14439                  opposition due August 15, 2011 by
              Inc.
                                                                       agreement of the parties.




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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Corrected Answer (Re: related
                                                                        document(s)[10061] Objection to Claim
                                                                        filed by Circuit City Stores, Inc.
    17        GRE Grove Street One LLC           12062         10764    Liquidating Trust) filed by Alison Ross
                                                                        Wickizer Toepp of Reed Smith LLP on
                                                                        behalf of GRE Grove Street One LLC.
                                                                        (Attachments: # (1) Exhibit(s) Exhibit A)
                                                 13378
    17        Greenback Associates                             10626
                                                 15007
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
              GVD Commercial Properties
    17                                           11981                  opposition due August 15, 2011 by
              Inc.
                                                                        agreement of the parties.

                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        I 93 Somerville LLC                 6261                  opposition due August 15, 2011 by
                                                                        agreement of the parties.

                                                  9717
                                                  9719
              Inland Traverse City,
    17                                           12827         10389
              L.L.C., et al.
                                                 13968
                                                 14929
              Key Bank NA as Master
              Servicer and ORIX Capital
    17                                           12420         10817
              Markets LLC as Special
              Servicer

    17        La Habra Imperial, LLC             12448         10300




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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        M&M Berman Enterprises             14163                  opposition due August 15, 2011 by
                                                                        agreement of the parties.

                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        M&M Berman Enterprises              5993                  opposition due August 15, 2011 by
                                                                        agreement of the parties.

                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        M&M Berman Enterprises             15185                  opposition due August 15, 2011 by
                                                                        agreement of the parties.

                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        M&M Berman Enterprises              5992                  opposition due August 15, 2011 by
                                                                        agreement of the parties.

                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    17        Madison Waldorf LLC                15139                  opposition due August 15, 2011 by
                                                                        agreement of the parties.

                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
              Melville Realty Company
    17                                            7491                  opposition due August 15, 2011 by
              Inc.
                                                                        agreement of the parties.




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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        New River Properties LLC          12418                  opposition due August 15, 2011 by
                                                                       agreement of the parties.

                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
              Park National Bank
    17                                          14078                  opposition due August 15, 2011 by
              Successor Trustee
                                                                       agreement of the parties.

                                                 9156
    17        Redtree Properties, L.P.                        10303
                                                12404
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        Schiffman Circuit Props            3541
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Sparks Galleria Investors                                August 22, 2011 at 2:00 p.m. with
    17                                          10226
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Staples the Office                                       The Trust will withdraw the Objection as
    17                                           9985         10472
              Superstore East, Inc.                                    it relates to this claim.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        Torrington Triplets LLC            7114
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        Torrington Triplets LLC           12808
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        Tourboullin Corporation           13753
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                        107
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Settled pursuant to procedures previously
              Triangle Equities Junction                               approved by this Court. Accordingly, the
    17                                          13401
              LLC                                                      matter may be removed from the Court’s
                                                                       docket.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        Uncommon Ltd.                     14812
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                          12461
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                          13731
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                           8614
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        United States Debt Recovery       12115
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                          12588
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery       12589                  August 22, 2011 at 2:00 p.m. with
    17
              V LP                              12735                  opposition due August 15, 2011 by
                                                                       agreement of the parties.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                          12819
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                          13254
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Untied States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                          13731
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                          14519
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                          15110
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                          15112
              V LP                                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
              United States Debt Recovery                              Status hearing on objection adjourned to
              V LP Assignee of 1251                                    August 22, 2011 at 2:00 p.m. with
    17        Fourth Street Investors LLC       15098                  opposition due August 15, 2011 by
              and Beverley Gemini                                      agreement of the parties.
              Investments LLC
              United States Debt Recovery                              Status hearing on objection adjourned to
              V LP Assignee of 1251                                    August 22, 2011 at 2:00 p.m. with
    17        Fourth Street Investors LLC       15101                  opposition due August 15, 2011 by
              and Beverly Gemini                                       agreement of the parties.
              Investments LLC
                                                        109
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP Assignee of CC               15115
                                                                       opposition due August 15, 2011 by
              Properties LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP Assignee of CC               15113
                                                                       opposition due August 15, 2011 by
              Properties LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP Assignee of CC               15116
                                                                       opposition due August 15, 2011 by
              Properties LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP Assignee of CC               15117
                                                                       opposition due August 15, 2011 by
              Properties LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP Assignee of Faber            15108
                                                                       opposition due August 15, 2011 by
              Brothers Inc.
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP Assignee of Faber            15109
                                                                       opposition due August 15, 2011 by
              Brothers Inc.
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery                              August 22, 2011 at 2:00 p.m. with
    17                                          15111
              V LP Assignee of FRO LLC IX                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP Assignee of Hoprock          15073
                                                                       opposition due August 15, 2011 by
              Limonite LLC
                                                                       agreement of the parties.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP Assignee of Rancon           15072
                                                                       opposition due August 15, 2011 by
              Realty Fund IV
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP assignee of CC               14520
                                                                       opposition due August 15, 2011 by
              Properties LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP Assignee of Johnstown         7550
                                                                       opposition due August 15, 2011 by
              Shopping Center LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
                                                                       August 22, 2011 at 2:00 p.m. with
    17        V LP Assignee of Rancon           12121
                                                                       opposition due August 15, 2011 by
              Realty Fund IV
                                                                       agreement of the parties.
                                                                       Settled pursuant to procedures previously
                                                                       approved by this Court. Accordingly, the
    17        VIWY LP                           13260
                                                                       matter may be removed from the Court’s
                                                                       docket.
                                                                       Status hearing on objection adjourned to
              Voit Partners LTD I Trust                                August 22, 2011 at 2:00 p.m. with
    17                                          15176
              No. 5                                                    opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        Vornado Gun Hill Road LLC          8496
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        Vornado Gun Hill Road LLC         13970
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Walton Whitney Investors V                               August 22, 2011 at 2:00 p.m. with
    17                                          12481
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Walton Whitney Investors V                               August 22, 2011 at 2:00 p.m. with
    17                                          13424
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Walton Whitney Investors V                               August 22, 2011 at 2:00 p.m. with
    17                                          14415
              LLC – Exhibit E                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Walton Whitney Investors V                               August 22, 2011 at 2:00 p.m. with
    17                                          14415
              LLC – Exhibit F                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Westlake Limited
    17                                          15213         10342
              Partnership
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        William A. Broscious, Esq.        12096
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    17        Wilmington Trust Company          13171
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.

              Alameda County Treasurer-         14821
    18                                                        10405
              Tax Collector                     15155
                                                                       Status hearing on objection adjourned to
              Arizona Department of
                                                                       August 22, 2011 at 2:00 p.m. with
    18        Revenue, Tax Collector of          4852
                                                                       opposition due August 15, 2011 by
              the City of Phoenix
                                                                       agreement of the parties.

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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
                                                                       opposition due August 15, 2011, in order
    18        Arkansas – Auditor of State        3355
                                                                       that the record with respect to the
                                                                       Trust’s withdrawal of such objection can
                                                                       be established before responses are due.
                                                14813
    18        Baltimore County, Maryland                      10494
                                                15182
              Benton County Treasurer’s
    18                                          11711         10493
              Office
              Broward County Record,
                                                15024
    18        Taxes & Treasury Division –                     10495
                                                15025
              Florida
              Cabarrus County Tax
    18                                          15143         10485
              Collector
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
                                                                       opposition due August 15, 2011, in order
              Charlotte-Mecklenburg
    18                                          13606                  that the record with respect to the
              County Tax Collector
                                                                       Trust’s withdrawal of such objection can
                                                                       be established before responses are due.

                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
                                                                       opposition due August 15, 2011, in order
    18        Denton - City of                  11846         10167    that the record with respect to the
                                                                       Trust’s withdrawal of such objection can
                                                                       be established before responses are due.




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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
                                                                       opposition due August 15, 2011, in order
              Denton Independent School
    18                                          11583         10166    that the record with respect to the
              District
                                                                       Trust’s withdrawal of such objection can
                                                                       be established before responses are due.

    18        Fairfax County, Virginia          15212         10387
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
                                                13292                  opposition due August 15, 2011, in order
    18        Fayette County Attorney           13296         10176    that the record with respect to the
                                                15140                  Trust’s withdrawal of such objection can
                                                                       be established before responses are due.

              Forsyth County Tax                 3184
    18                                                        10484
              Collector                         14835
    18        Franklin - City of                13643
                                                 2283                  Status hearing on objection adjourned to
                                                15040                  August 22, 2011 at 2:00 p.m. with
              Garland, TX – Independent         15057                  opposition due August 15, 2011 by
    18
              School District                    2284                  agreement of the parties.
                                                15041
                                                15060
                                                 255                   Status hearing on objection adjourned to
                                                 1596                  August 22, 2011 at 2:00 p.m. with
    18        Hamilton County Trustee
                                                14842                  opposition due August 15, 2011 by
                                                 5728                  agreement of the parties.
    18        Lewisville - City of              11849         10168




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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                11961
                                                12084
                                                 4172
                                                 2279
                                                 271
              Hernando, Manatee, Palm            1639
              Beach, Pinnellas, Polk, Lee        3161
              Okaloosa, Brevard, Orange,         7700
    18                                                        10337
              Bay & Indian River, Florida        7702
              Counties, Florida Tax             10414
              Collectors                        10415
                                                10416
                                                10891
                                                10892
                                                11928
                                                 2282
                                                14640
    18        Lake County, FL                   14641         10696
                                                15206
                                                 579
              Los Angeles City Attorney’s
    18                                          11862         10680
              Office
                                                14738
                                                                       Status hearing on objection adjourned to
              Massachusetts-Commissioner                               August 22, 2011 at 2:00 p.m. with
    18                                          12953         10247
              of Dept. of Revenue                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Monterey County Tax
    18                                           4733         10680
              Collector
              Montgomery County Trustee,         3151
    18                                                        10354
              Tennessee                         15026
              Nevada - State of, Dept. of
    18                                          14831         10160
              Taxation


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              New Hampshire Department of                               August 22, 2011 at 2:00 p.m. with
    18                                           13029
              Revenue                                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              New Jersey Department of           12896                  August 22, 2011 at 2:00 p.m. with
    18
              Treasurer                           2300                  opposition due August 15, 2011 by
                                                                        agreement of the parties.
    18        Ohio Dept. of Commerce             12889         10446
                                                  565
                                                  1628
    18        Ohio Dept. of Taxation                           10447
                                                 15186
                                                 15187
    18        Ohio Dept of Taxation               5998         10448
              Pasadena Independent School         181                   Withdrawn
    18                                                         10516
              District                           15061
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
                                                                        opposition due August 15, 2011, in order
              Pennsylvania - Commonwealth         9162         10248
    18                                                                  that the record with respect to the
              of, Penns. Dept. of Revenue         9305
                                                                        Trust’s withdrawal of such objection can
                                                                        be established before responses are due.

                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    18        Philadelphia, City of               1530
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                 15801
              Riverside County Treasurer,
    18                                           15802         10680
              Tax Collector
                                                  9508




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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
                                                                       opposition due August 15, 2011, in order
              Sacramento County Tax
    18                                          14639         10274    that the record with respect to the
              Collector
                                                                       Trust’s withdrawal of such objection can
                                                                       be established before responses are due.

                                                11630
    18        San Bernadino, County of          13358         10680
                                                13581
              San Francisco - Office of                                Status hearing on objection adjourned to
              the Treasurer & Tax               14857                  August 22, 2011 at 2:00 p.m. with
    18
              Collector for the City and        14858                  opposition due August 15, 2011 by
              County of                                                agreement of the parties.
                                                 2243
              Seminole County, Florida           2244
    18                                                        10336
              Tax Collector, Ray Valdes         14833
                                                14834
    18        Sonoma County Tax Collector       14571         10260
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    18        Town of Queen Creek, AZ           12932
                                                                       opposition due May 9, 2011 by agreement
                                                                       of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    18        Southlake, Tennessee              11854
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                11845
              United States of America –
    18                                          11847         10304
              IRS
                                                14816
                                                                       Status hearing on objection adjourned to
              Virginia, Commonwealth of,                               August 22, 2011 at 2:00 p.m. with
    18                                          14636
              Department of Taxation                                   opposition due August 15, 2011 by
                                                                       agreement of the parties.
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    18        Virginia Beach, VA, City of       14504
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
    18        Williamson County Clerk           13642
                                                                       Status hearing on objection adjourned to
              Wisconsin, Office of State                               August 22, 2011 at 2:00 p.m. with
    18                                          12767
              Treasurer                                                opposition due August 15, 2011 by
                                                                       agreement of the parties.

    19        BROWNE,Auvill V.                  13297         10235
    19        CACCIOTTI, David J.                2309         10250
    19        DAVIS, Robyn N.                    1756         10358
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    19        EVANS FOSE, Brandi Michelle        6906
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
    19        GIACONE, Kenneth                  11616
    19        GILLARD, Melissa Michelle          8522         10396
    19        GIORDANO, Patricia C.             14338         10177
    19        KENNEDY, Patrick Gerald            4441         10479
    19        LaCOURSIERE, Brian L.              4748         10209
    19        McDONALD, Jeffrey A.               7583                  Letter Response dated May 27, 2011.
    19        MILLER, Richard T.                14619         10307
                                                                       Settled pursuant to procedures previously
                                                                       approved by this Court. Accordingly, the
    19        SALOVAARA, Mikael                 15189
                                                                       matter may be removed from the Court’s
                                                                       docket.
                                                                       Response indicates no objection to relief
    19        SMITH, Arlana                     13651         10478    sought. Accordingly, objection to be
                                                                       sustained.
    19        THUMANN, Anne                     14097         10173


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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              412 South Broadway Realty
    20                                           13675         10271
              LLC
              412 South Broadway Realty
    20                                            5020         10271
              LLC
              412 South Broadway Realty
    20                                           12568         10271
              LLC
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        610 & San Felipe Inc               13946
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        610 & San Felipe Inc.              12536
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Claimant has withdrawn motion to compel
              Acadia Realty Limited
                                                                        payment of administrative claim;
    20        Partnership & Brighton             13098
                                                                        accordingly, objection as it relates to
              Commercial, et al.
                                                                        this claim is moot.
                                                                        Status hearing on objection adjourned to
              Acadia Realty Limited
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Partnership fka Mark               13802
                                                                        opposition due August 15, 2011 by
              Centers Limited partnership
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Acadia Realty Limited
                                                                        August 22, 2011 at 2:00 p.m. with
    20        partnership fka Mark               12789
                                                                        opposition due August 15, 2011 by
              Centers Limited Partnership
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Basser Kaufman 222 LLC              8678
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Basser Kaufman 312 LLC             14703
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                         119
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Basser Kaufman 312 LLC             12509
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Basser Kaufman 312 LLC             12507
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Basser Kaufman                     14416
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.

    20        Brighton Commercial, L.L.C.        12493         10399

              Capmark Finance, Inc. on                                  Request for Hearing (Doc. 10441
    20        Behalf of Bank of America          12663         10440
              National Association
              Catellus Operating Limited
    20                                            7957         10259
              Partnership
              Catellus Operating Limited                       10269
    20                                            7933
              Partnership                                      10367
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        CC Investors 1996 14               11572
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        CC Investors 1996 9                11829
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              CDB Falcon Sunland Plaza LP                               August 22, 2011 at 2:00 p.m. with
    20                                            8607
              – Exhibit C                                               opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                         120
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              CDB Falcon Sunland Plaza LP                              August 22, 2011 at 2:00 p.m. with
    20                                           8607
              – Exhibit D                                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    20        CDB Falcon Sunland Plaza LP       13905
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    20        Cedar Development LTD             12787
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Cencor Realty Services Inc,                              August 22, 2011 at 2:00 p.m. with
    20                                          12541
              Agent for SWQ 35 Forum LTD                               opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Cencor Realty Services Inc.                              August 22, 2011 at 2:00 p.m. with
    20                                          12544
              Agent for SWQ 35 Forum LTD                               opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta                               August 22, 2011 at 2:00 p.m. with
    20                                          12583
              Baybrook Gateway Webster TX                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta                               August 22, 2011 at 2:00 p.m. with
    20                                          12616
              Baybrook Gateway Webster TX                              opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Circuit Investors No. 2                                  August 22, 2011 at 2:00 p.m. with
    20                                           9038
              Ltd, A Texas Partnership                                 opposition due August 15, 2011 by
                                                                       agreement of the parties.
    20        Circuit NH Corp                   13397

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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              CK Richmond Business
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Services No. 2 Limited              8151
                                                                        opposition due August 15, 2011 by
              Liability Company
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Colonial Square Associates         12468
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Colonial Square Associates         13449
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Contracting Systems, Inc.                                 August 22, 2011 at 2:00 p.m. with
    20                                            2818
              II                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              CVS Pharmacy Inc. and
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Melville Realty Company,           14362
                                                                        opposition due August 15, 2011 by
              Inc.
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        CVS Pharmacy, Inc.                  7492
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Dicks Sporting Goods, Inc.         14213
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Dicks Sporting Goods, Inc.          8936
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.


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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Dollar Tree Stores, Inc.            9102
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Donahue Schriber Realty
    20                                           12863         10625
              Group, LP
                                                                        This matter has been settled pursuant to
              Drury Land Development,
    20                                            8353                  procedures previously approved by this
              Inc.
                                                                        Court
              Federal Realty Investment                                 Status hearing on objection adjourned to
              Trust ta Troy Hills                                       August 22, 2011 at 2:00 p.m. with
    20                                           12086
              Shopping Center Parsippany                                opposition due August 15, 2011 by
              NJ                                                        agreement of the parties.
              Federal Realty Investment                                 Status hearing on objection adjourned to
              Trust ta Troy Hills                                       August 22, 2011 at 2:00 p.m. with
    20                                           12085
              Shopping Center Parsippany                                opposition due August 15, 2011 by
              NJ                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        GA Lakewood LLC                    13389
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        GA Montgomeryville LLC             12425
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        GA Montgomeryville LLC             13328
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                               10815
    20        Galleria Alpha Plaza Ltd            9190
                                                               10829
                                                               10815
    20        Galleria Plaza Ltd.                14280
                                                               10829
    20        Galleria Plaza Ltd.                14388         10815
                                                         123
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        After discussions with the Claimant, the
                                                                        relief sought in the Objection,
    20        Golf Galaxy Inc.                   14197
                                                                        specifically Claim 14197 - Exhibit E
                                                                        Expunge, shall be sustained.
                                                                        After discussions with the Claimant, the
                                                                        relief sought in the Objection,
    20        Golf Galaxy Inc.                   12222                  specifically Claim 12222 - Exhibit E
                                                                        Expunge, shall be sustained.

                                                                        After discussions with the Claimant, the
                                                                        Trust will withdraw the relief sought in
    20        Knoxville Levcal LLC                9159
                                                                        the Objection as it relates to Claim 9159
                                                                        - Exhibit E Expunge.
    20        La Habra Imperial, LLC             13637         10300
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Marlton VF LLC                      8782
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Marlton VF LLC                     11990
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Marlton VF LLC                     13971
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Monica Teplis, Nathan
              Teplis, Dr. Paul Teplis,
    20                                            7825         10496
              Mrs. Belle Teplis, Frank &
              Sharon Rose Friedman
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Palmetto Investors LLC             12757
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                         124
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Palmetto Investors LLC             13933
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Park National Bank as                                     Status hearing on objection adjourned to
              assignee of rents under                                   August 22, 2011 at 2:00 p.m. with
              Henrico County Virginia                                   opposition due August 15, 2011 by
    20                                            9009
              Deed of Lease with CK                                     agreement of the parties.
              Richmond Business Services
              No. 2
              Park National Bank as                                     Status hearing on objection adjourned to
              assignee of rents under the                               August 22, 2011 at 2:00 p.m. with
    20        Duncanville, Texas lease            9000                  opposition due August 15, 2011 by
              with Circuit Investors #2,                                agreement of the parties.
              Ltd.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Parkdale Mall Associates LP        12201
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Port Arthur Holdings III
                                                                        August 22, 2011 at 2:00 p.m. with
    20        Ltd and 610 & San Felipe           13122
                                                                        opposition due August 15, 2011 by
              In.
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Port Arthur Holdings III                                  August 22, 2011 at 2:00 p.m. with
    20                                           14356
              Ltd                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Port Arthur Holdings III                                  August 22, 2011 at 2:00 p.m. with
    20                                           12535
              Ltd.                                                      opposition due August 15, 2011 by
                                                                        agreement of the parties.




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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Principal Life Insurance
              Company fka Principal
    20                                           8235
              Mutual Life Insurance
              Company
                                                                       Status hearing on objection adjourned to
              RD Bloomfield Associates                                 August 22, 2011 at 2:00 p.m. with
    20                                          13801
              Limited Partnership                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              RD Bloomfield Associates                                 August 22, 2011 at 2:00 p.m. with
    20                                           8749
              Limited Partnership                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       After discussions with the Claimant, the
                                                                       Claim 14622 - Exhibit E Expunge and Claim
              Staples the Office                 9985
    20                                                        10472    9985 - Amended Claims to be expunged,
              Superstore East, Inc.             14622
                                                                       will be sustained.

                                                12855
    20        Starpoint Properties LLC                        10362
                                                14343
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    20        Suemar Realty Inc                 12173
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
    20        Suemar Realty, Inc.               14017         10406
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    20        Tourboullin Corporation           13753
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    20        Trane US Inc.                      9207
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    20        Trane US Inc.                      9205
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    20        Trane US Inc.                      9207
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Trust No 45786 by CTLT as                                August 22, 2011 at 2:00 p.m. with
    20                                          12824
              Trustee                                                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
              U.S. Bank National                                       Status hearing on objection adjourned to
              Association, as purchaser                                August 22, 2011 at 2:00 p.m. with
    20                                          14798
              of assets of Park National                               opposition due August 15, 2011 by
              Bank                                                     agreement of the parties.
              U.S. Bank National                                       Status hearing on objection adjourned to
              Association, as purchaser                                August 22, 2011 at 2:00 p.m. with
    20                                          14801
              of assets of Park National                               opposition due August 15, 2011 by
              Bank                                                     agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                14141
                                                                       August 22, 2011 at 2:00 p.m. with
    20        Uncommon Ltd                      14812
                                                                       opposition due August 15, 2011 by
                                                12786
                                                                       agreement of the parties.
                                                                       Settled pursuant to procedures previously
                                                                       approved by this Court. Accordingly, the
    20        VIWY LP                           12149
                                                                       matter may be removed from the Court’s
                                                                       docket.
                                                                       Settled pursuant to procedures previously
                                                                       approved by this Court. Accordingly, the
    20        VIWY LP                           13260
                                                                       matter may be removed from the Court’s
                                                                       docket.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Weingarten Miller Sheridan                               August 22, 2011 at 2:00 p.m. with
    20                                          11158
              LLC                                                      opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest                               August 22, 2011 at 2:00 p.m. with
    20                                          12416
              NA                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest                               August 22, 2011 at 2:00 p.m. with
    20                                          12023
              NA                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest                               August 22, 2011 at 2:00 p.m. with
    20                                          12004
              NA                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest                               August 22, 2011 at 2:00 p.m. with
    20                                          12011
              NA                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest                               August 22, 2011 at 2:00 p.m. with
    20                                          12012
              NA                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest                               August 22, 2011 at 2:00 p.m. with
    20                                          12013
              NA                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest                               August 22, 2011 at 2:00 p.m. with
    20                                          13079
              NA                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Wells Fargo Bank Northwest                                August 22, 2011 at 2:00 p.m. with
    20                                           12014
              NA                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Wells Fargo Bank Northwest                                August 22, 2011 at 2:00 p.m. with
    20                                           14315
              NA                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.

                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        502 12 86th Street LLC             14879
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        502 12 86th Street KKD             14292
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        AmCap Arborland LLC                12514
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Bank of America National                                  Request for Hearing (Doc. 10426)
              Association as Successor by
              Merger to LaSalle Bank
              National Association fka La
    21                                           14859         10425
              Salle National Bank as
              Trustee for the Registered
              Holders of GMAC Commercial
              Mortgage Securities Inc.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Benenson Columbus OH Trust         13614
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
    21        Capmark Finance, Inc.               9444         10504
                                                         129
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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Capmark Finance Inc.’s
    21                                            9444         10377
              Request for Hearing
                                                                        Status hearing on objection adjourned to
              CC 223 Andover Park East                                  August 22, 2011 at 2:00 p.m. with
    21                                           13974
              Tukwila LLC                                               opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                 12333
    21        CC Springs, L.L.C.                               10368
                                                 13190
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Conyers Crossroads,                12540
                                                                        opposition due August 15, 2011 by
              Conyers, GA
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Conyers Crossroads,                12556
                                                                        opposition due August 15, 2011 by
              Conyers, GA
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta                                August 22, 2011 at 2:00 p.m. with
    21                                           12580
              Parkway Plaza Vestal NY                                   opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Century Plaza Development          11669
    21                                                         10390
              Corp.                              11238
    21        Circuit Sports, LP                 13434         10379
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        City of Pasadena, CA               12856
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Crosspointe Plaza 08 A LLC         13356
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.



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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              CW Investors 1997 12 by its
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Receiver CW Capital Asset          12529
                                                                        opposition due August 15, 2011 by
              Management LLC
                                                                        agreement of the parties.
              CW Capital Asset Management
              LLC as Special Servicer for
    21        Bank of America NA                 13953         10827
              Successor by merger to
              LaSalle Bank NA as Trustee
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Deno Dikeou – Exhibit C            13740
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Deno Dikeou – Exhibit D            13740
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Eagleridge Associates              12768
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Eagleridge Associates              12769
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Enid Two LLC                       12815
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        FC Richmond Associates             12816
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    21        FC Treeco Columbia Park LLC       12802
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Generation H One and Two
    21                                          13635         10416
              Limited Partnership
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    21        Goodmill LLC                      14041
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
    21        Hayden MEADOWS                    14878         10458
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    21        Heritage Plaza LLC                13932
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                 9722
              Inland Western Oswego Gerry       10024
    21                                                        10384
              Centennial LLC                    14079
                                                14931
              International Speedway
    21                                          14142         10347
              Square Ltd.
              Key Bank NA as Master
              Servicer and ORIX Capital
    21                                          12420         10816
              Markets LLC as Special
              Servicer
    21        Kite Coral Springs, LLC           14170         10346
    21        Kite Coral Springs, LLC           12873         10349
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    21        Macys Retail Holdings Inc.        12427
                                                                       Court. Accordingly, the matter may be
                                                                       removed from the Court’s docket.



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    21        Marple XYZ Associates             14047
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    21        Montclair Plaza LLC                4373
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              NP Huntsville Limited                                    August 22, 2011 at 2:00 p.m. with
    21                                          13942
              Liability Company                                        opposition due August 15, 2011 by
                                                                       agreement of the parties.
    21        ORIX Capital Markets LLC          14058         10820
                                                                       Status hearing on objection adjourned to
              Palm Springs Mile                                        August 22, 2011 at 2:00 p.m. with
    21                                          13536
              Associates Ltd.                                          opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    21        Plaza Las Americas Inc.           13733
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Settled pursuant to procedures previously
                                                                       approved by this Court. Accordingly, the
    21        Plaza Las Palmas LLC              13341
                                                                       matter may be removed from the Court’s
                                                                       docket.
                                                                       Trust will withdraw the relief sought in
    21        Potomac Festival II LLC           14305                  the Objection as it relates to Claim
                                                                       14305 - Exhibit C Reduce.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    21                                          13504
              Saugus Plaza Associates                                  opposition due August 15, 2011 by
                                                                       agreement of the parties.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Tanglewood Park LLC,
                                                                       August 22, 2011 at 2:00 p.m. with
    21        Luckoff Land Company, LLC,         5163
                                                                       opposition due August 15, 2011 by
              and Roth Tanglewood LLC
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Landing at Arbor Place                               August 22, 2011 at 2:00 p.m. with
    21                                          11814
              II LLC                                                   opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              The Landing at Arbor Place                               August 22, 2011 at 2:00 p.m. with
    21                                          12203
              II LLC                                                   opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
                                                                       August 22, 2011 at 2:00 p.m. with
    21        Trane US Inc.                      8373
                                                                       opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Trust No 45786 by CTLT as                                August 22, 2011 at 2:00 p.m. with
    21                                          12824
              Trustee                                                  opposition due August 15, 2011 by
                                                                       agreement of the parties.
              Tysons 3 LLC and its
    21        Management Agent The              13865         10823
              Ziegler Companies LLC
                                                                       Status hearing on objection adjourned to
              Tysons Corner Holdings LLC                               August 22, 2011 at 2:00 p.m. with
    21                                          14128
              Macerich 203270 1467                                     opposition due August 15, 2011 by
                                                                       agreement of the parties.
                                                                       Status hearing on objection adjourned to
              Tysons Corner Holdings LLC
                                                                       August 22, 2011 at 2:00 p.m. with
    21        Macerich Tysons Corner Road        9530
                                                                       opposition due August 15, 2011 by
              Shop
                                                                       agreement of the parties.



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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Tysons Corner Holdings LLC
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Macerich Tysons Corner Road         9537
                                                                        opposition due August 15, 2011 by
              Shop
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
              United States Debt Recovery                               August 22, 2011 at 2:00 p.m. with
    21                                           15046
              V LP                                                      opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Vno Tru Dale Mabry LLC              8784
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        VNO TRU Dale Mabry LLC             13972
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Wayne VF LLC                       13920
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
                                                                        Status hearing on objection adjourned to
                                                                        August 22, 2011 at 2:00 p.m. with
    21        Weingarten Nostat Inc.             13983
                                                                        opposition due August 15, 2011 by
                                                                        agreement of the parties.
              Wells Fargo Bank NA
              Successor by Merger to
    21        Wells Fargo Bank Minnesota          9444         10369
              NA fka Norwest Bank
              Minnesota NA as Trustee
                                                                        Status hearing on objection adjourned to
              WRI Lakeside Marketplace                                  August 22, 2011 at 2:00 p.m. with
    21                                           14410
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              WRI Seminole Marketplace,                                 August 22, 2011 at 2:00 p.m. with
    21                                           13986
              LLC                                                       opposition due August 15, 2011 by
                                                                        agreement of the parties.

                                                                        This Claimant was inadvertently listed
                                                                        under LT Omni 22 instead of LT Omni 13.
    22        LONGOOD, Patrick S.                14637                  He is now listed under LT Omni 13 and
                                                                        this reference will be deleted in
                                                                        subsequent Exhibits.
                                                                        Status hearing on objection adjourned to
    22        MILLER,Jr., Richard T.             14620
                                                                        August 22, 2011 at 2:00 p.m.




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